                                UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NORTH CAROLINA

___________________________________________X

JOHN DOE                                                                  Civil Action No.:

                             Plaintiff,                                          COMPLAINT

                    v.

EAST CAROLINA UNIVERSITY, CECIL STATON, JR.
individually and as agent for East Carolina University,
VIRGINIA HARDY, individually and as agent
for East Carolina University, TAMIKA WORDLOW,
individually and as agent for East Carolina University,
CAITLIN BUTLER, individually and as agent for East                               JURY TRIAL
Carolina University, LYNN ROEDER, individually                                   DEMANDED
and as agent for East Carolina University,
HEIDI S. BONNER, individually and as agent for East
Carolina University, KATHLEEN FLANAGAN, individually
and as agent for East Carolina University,
CHRISTINA RAGONE, individually and as agent for
East Carolina University, PATRICK SKIPPER, individually
and as agent for East Carolina University,
BRET WILSON, individually and as agent for East
Carolina University, MANDY MESSERLI, individually
and as agent for East Carolina University,
and JOHN BELLFLOWER, JR., individually and as agent
for East Carolina University.

                  Defendants.
___________________________________________X

           Plaintiff John Doe,1 by and through his attorneys, Nesenoff & Miltenberg, LLP and White

& Allen, as and for his Complaint against Defendants East Carolina University, Cecil Staton, Jr.,

Virginia Hardy, Tamika Wordlow, Caitlin Butler, Lynn Roeder, Heidi S. Bonner, Kathleen

Flanagan, Christina Ragone, Patrick Skipper, Bret Wilson, Mandy Messerli and John Bellflower,

Jr. respectfully alleges as follows:



1
    Plaintiff has filed herewith a motion to for leave to proceed anonymously.



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                                     THE NATURE OF THIS ACTION

           1.       This action arises from the actions taken and procedures employed by Defendants

East Carolina University (“ECU” or the “University”), Cecil Staton, Jr. Virginia Hardy, Tamika

Wordlow, Caitlin Butler, Lynn Roeder, Heidi S. Bonner, Kathleen Flanagan, Christina Ragone,

Patrick Skipper, Bret Wilson, Mandy Messerli and John Bellflower, Jr. in investigating and

adjudicating a complaint of sexual misconduct filed by Jane Roe2 alleging that John Doe had non-

consensual sexual contact with her in the early morning hours of November 21, 2015.

           2.       This action is based upon Title IX reverse discrimination, constitutional due process

and related state law claims brought on behalf of Plaintiff John Doe (“Plaintiff” or “John Doe”), a

former graduate student at Defendant ECU, who was found responsible for violating ECU’s

policies related to sexual misconduct and subjected to a three (3) year suspension from the

University, which is tantamount to an expulsion.

           3.       As a result of Defendants’ imposition of the unwarranted and erroneous sanction

against John Doe, he has sustained damages to his reputation, future education and career

prospects, physical, psychological and emotional damages, economic injuries, and the loss of

educational and career opportunities.

           4.       Defendants’ investigation and adjudication of Jane Roe’s allegations were tainted

by gender bias resulting from federal and local pressure to protect female victims of sexual

violence, and to reform ECU’s policies to take a hard line against male students accused of sexual

misconduct. Participants in the investigation and adjudication of the allegations against John Doe

were trained by organizations that teach a gender biased, trauma informed approach to university

Title IX proceedings. The hearing panel that “heard” John Doe’s case was stacked with faculty



2
    Roe is referred to herein pseudonymously.

                                                      2

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and staff who engaged in advocacy work for female equality and tougher prosecution of male

perpetrators accused of sexual violence against women. The sole adjudicator of John Doe’s appeal

was also tasked as ECU’s spokesperson for Title IX compliance as a result of an Office of Civil

Rights investigation and an advocate for women’s rights, having a direct conflict of interest with

deciding John Doe’s appeal. John Doe was subjected to hostility, harassment and intimidation

throughout the investigation and adjudication process.

       5.      John Doe was presumed guilty from the beginning, subjected to a six-month long

process at the hands of biased and inept administrators and deprived of a fair and impartial hearing

with adequate due process protections, as mandated by Title IX, the United States Constitution

and ECU’s policies and procedures. When Defendants subjected John Doe to disciplinary action

they did so in an arbitrary and capricious way, deprived him of due process and discriminated

against him because of his gender. ECU’s policies and regulations as promulgated are biased and

discriminatory. While Defendants significantly departed from these policies and regulations in

John Doe’s case, the regulations and policies they did follow are insufficient to protect the rights

of male students accused of sexual misconduct.

       6.      John Doe therefore brings this action to obtain relief based on claims for violations

of Title IX of the Education Amendments of 1972, violation of Fourteenth Amendment Procedural

Due Process and breach of contract.

                                         THE PARTIES

       7.      John Doe is a natural person and resident of North Carolina.

       8.      Defendant East Carolina University is a public university located in Greenville,

North Carolina. It has been designated a sea grant university by the Association of Public and Land

Grant Universities. ECU is a constituent university of the University of North Carolina. It is



                                                 3

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authorized, supervised and funded by the State of North Carolina pursuant to the North Carolina

Constitution and Section 116-4 of the North Carolina General Statutes.

       9.      Defendant Cecil Staton Jr. (“Staton”) is the Chancellor of ECU. The Board of

Governors of the University of North Carolina have granted Staton the power and authority to

manage student conduct at ECU. Upon information and belief, Staton is the party authorized to

expunge the sanction issued against Plaintiff from his education records and the University of

North Carolina database.

       10.     Defendant Virginia Hardy (“Hardy”) is a natural person and, upon information and

belief, a resident of the State of North Carolina. She is ECU’s Vice Chancellor of Student Affairs

and was singularly responsible for deciding John Doe’s appeal.

       11.     Defendant Tamika Wordlow (“Wordlow”) is a natural person and, upon

information and belief, a resident of the State of North Carolina. She is the Director of ECU’s

Office of Student Rights and Responsibilities and, among other things, was responsible for the

initiation of a Title IX investigation against John Doe, as well as ensuring compliance with ECU’s

policies and procedures in the investigation and adjudication of sexual misconduct allegations

against him, which took six months.

       12.     Defendant Caitlin Butler (“Butler”) is a natural person and, upon information and

belief, a resident of North Carolina. Butler replaced Kristan Tucker as the Title IX investigator on

John Doe’s case in or around January 2016 and was the sole investigator assigned to John Doe’s

case even though she lacked experience in the area.

       13.     Defendant Lynn M. Roeder (“Roeder”) is a natural person and, upon information

and belief, a resident of North Carolina. Roeder is ECU’s Dean of Students and denied John Doe’s

appeal of an administrative suspension and ban from ECU properties effected by ECU in Fall



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2015, which also resulted in denying John Doe access to his medical provider, whose office was

located on ECU property.

       14.     Defendant Heidi S. Bonner (“Bonner”) is a natural person and, upon information

and belief, a resident of North Carolina. Bonner, a criminal justice professor, was a member of the

panel at the Student Conduct Board hearing ECU held in John Doe’s case.

       15.     Defendant Kathleen Flanagan (“Flanagan”) is a natural person and, upon

information and belief, a resident of North Carolina. Flanagan was a member of the panel at the

Student Conduct Board hearing ECU held in John Doe’s case.

       16.     Defendant Christina Ragone (“Ragone”) is a natural person and, upon information

and belief, a resident of North Carolina. Ragone was a member of the panel at the Student Conduct

Board hearing ECU held in John Doe’s case.

       17.     Defendant Patrick Skipper (“Skipper”) is a natural person and, upon information

and belief, a resident of North Carolina. Skipper was a member of the panel at the Student Conduct

Board hearing ECU held in John Doe’s case.

       18.     Defendant Bret Wilson (“Wilson”) is a natural person and, upon information and

belief, a resident of North Carolina. Wilson was a member of the panel at the Student Conduct

Board hearing ECU held in John Doe’s case.

       19.     Defendant Mandy Messerli (“Messerli”) is a natural person and, upon information

and belief, a resident of North Carolina. Messerli is the Associate Director of ECU’s Office of

Student Rights and Responsibilities and served as the hearing advisor at John Doe’s Student

Conduct Board hearing.

       20.     Defendant John Bellflower, Jr. (“Bellflower”) is a natural person and, upon

information and belief, a resident of North Carolina. At all times relevant to the claims alleged



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herein, Bellflower was an Associate University Attorney at ECU. Bellflower directed ECU

administrators to deny John Doe access to his education file, participated in John Doe’s Student

Conduct Board hearing in violation of ECU’s policy and procedures and repeatedly referenced

“litigating” the case against John Doe in order to determine his guilt. Upon information and belief,

Bellflower was terminated or resigned from his position in or around March 2018.

                                 JURISDICTION AND VENUE

        21.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331, as it arises under the Constitution and laws of the United States and presents a federal

question. This Court further has supplemental jurisdiction over the state law claims in this action

pursuant to 28 U.S.C. § 1367(a).

        22.     Venue is proper in the Eastern District of North Carolina judicial district pursuant

to 28 U.S.C. 1391(b)(2) because the events giving rise to Plaintiff’s claims occurred in this judicial

district and division.

                 FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

I.      2014: ECU Faces Federal Pressure to Comply With Title IX

        A. The U.S. Department of Education’s “Call to Action” to
           U.S. Colleges and Universities

        23.     On April 4, 2011, the Office for Civil Rights (“OCR”) of the United States

Department of Education issued a guidance letter to colleges and universities in the United States

in receipt of federal funding which became widely known as the “Dear Colleague Letter” (the

“DCL”). The DCL advised recipients that sexual violence constitutes sexual harassment within

the meaning of Title IX of the Education Amendments of 1972, 20 U.S.C. §1681 et seq. and its

regulations, and directed schools to “take immediate action to eliminate the harassment, prevent

its recurrence and address its effects.” DCL at p. 4.

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         24.   The DCL responded, in part, to a special investigative report published by National

Public     Radio     and     the    Center     for     Public    Integrity,   which      proclaimed

a campus rape epidemic and criticized the OCR for its lax response to what the report

characterized as a social problem of critical importance. See http://www.npr.org/templates/story/

story.php?storyId=124001493. The report described in detail the obstacles faced by sexual assault

victims in obtaining redress though college disciplinary proceedings and how victims who did

engage in the college disciplinary process suffered additional trauma as a result. Much of the report

focused on underreporting, re-traumatization of victims, rape myth adherence on college campuses

(e.g. that women invite rape, that rapes are just drunk hook-ups, and that women routinely lie), and

young men’s cultural adherence to the sex aggressor role.

         25.   The DCL, further, relied on faulty statistics in sounding a “call to action” for

campuses nationwide—that “about 1 in 5 women are victims of completed or attempted sexual

assault while in college.” DCL, at p. 2. The researchers behind this study subsequently invalidated

that statistic as a misrepresentation of the conclusions of the study and warned that it was

“inappropriate to use the 1-in-5 number as a baseline…when discussing our country’s problem

with rape and sexual assault.” http://time.com/3633903/campus-rape-1-in-5-sexual-assault-

setting-record-straight/. Relying on these faulty numbers, the DCL minimized due process

protections for the accused by, among other things, eschewing any presumption of innocence,

mandating a preponderance of the evidence standard, limiting cross-examination, and forbidding

certain forms of alternative dispute resolution.

         26.   On April 29, 2014, OCR issued additional directives to colleges and universities in

the form of a guidance document titled Questions and Answers on Title IX and Sexual Violence

(“Q&A”) which was aimed at addressing campus sexual misconduct policies, including the



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procedures colleges and universities “must” employ “to prevent sexual violence and resolve

complaints” and the elements that “should be included in a school’s procedures for responding to

complaints of sexual violence.” Q&A, at p. 12. The Q&A advised schools to adopt a trauma

informed approach, advising, for example, that hearings should be “conducted in a manner that

does not inflict additional trauma on the complainant.” Id. at p. 31. While the Q&A advised that

“the rights established under Title IX must be interpreted consistently with any federally

guaranteed due process rights…a school should ensure that any due process rights do not restrict

or unnecessarily delay the protections provided by Title IX to the complainant.” Id. at p. 13.

       27.         In April 2014, the White House issued a report entitled “Not Alone”, which

included a warning that if the OCR finds that a Title IX violation occurred, the “school risks losing

federal funds” and that the DOJ shares authority with OCR for enforcing Title IX and may initiate

an investigation or compliance review of schools. Further, if a voluntary resolution cannot be

reached, the DOJ may initiate litigation.

       28.         In June 2014, then Assistant Secretary of Education Catherine Llhamon testified

before the United States Senate that if OCR could not secure voluntary compliance with the DCL

from a college or university, it may elect to initiate an administrative action to terminate federal

funds or refer the case to the Department of Justice. To support enforcement of the DCL the OCR

hired hundreds of additional investigators. To date, OCR has conducted 458 investigations of

colleges     for      the   potential     mishandling   of   complaints    of    sexual    violence.

https://projects.chronicle.com/titleix/

       29.         On September 1, 2014 the Chronicle of Higher Education noted that “Colleges face

increasing pressure from survivors and the federal government to improve the campus climate.”

“Presumed Guilty: College men accused of rape say the scales are tipped against them,” Chronicle



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of Higher Education, September 1, 2014. In the same article, the Chronicle noted that different

standards were applied to men and women: “Under current interpretations of colleges’ legal

responsibilities, if a female student alleges sexual assault by a male student after heavy drinking,

he may be suspended or expelled, even if she appeared to be a willing participant and never said

no. That is because in heterosexual cases, colleges typically see the male student as the one

physically able to initiate sex, and therefore responsible for gaining the woman’s consent.”

“Presumed Guilty: College men accused of rape say the scales are tipped against them,” Chronicle

of Higher Education, September 1, 2014.

       B. OCR Opens An Investigation At ECU

       30.     On October 8, 2014, a female student filed a complaint against ECU alleging that

ECU subjected her to a sexually hostile environment because it failed to discipline a University

Professor who sent her suggestive messages, asked her out on dates and engaged in other

“inappropriate” behavior.

       31.     In response, OCR launched an investigation into ECU’s sexual harassment and

sexual misconduct policies. Because the complainant was a student, OCR reviewed the sexual

misconduct policy applying to students, The Interim Regulation on Responding to Complaints of

Sexual Harassment, Sexual Misconduct and/or Discrimination on the Basis of Sex, to determine

whether the procedures set forth therein were compliant with Title IX.

       32.     OCR concluded that ECU’s sexual harassment policies and procedures violated

Title IX because they did not provide for the prompt resolution of complaints and that ECU’s

delays in completing investigations—due to personnel issues—were not reasonable.

       33.     OCR further concluded that ECU’s Title IX Coordinator lacked “sufficient

knowledge of the University’s grievance procedures on sex discrimination.”



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        34.     The OCR investigation concluded in February 2016 after ECU agreed to implement

a resolution agreement which “OCR would monitor closely …to ensure that the commitments

made are implemented timely and effectively.” If ECU failed to implement the terms of the

resolution agreement then OCR could “initiate administrative enforcement or judicial

proceedings” against the University.

        35.     Pursuant to the February 2016 resolution agreement, ECU agreed to revise its Title

IX policies and procedures “to ensure for the prompt and equitable resolution of allegations of sex

discrimination, including sexual harassment, gender-based harassment, and sexual violence as

required by Title IX.” ECU was further required to provide all students with written notice

regarding the policy revisions, as well as information about how to obtain copies of relevant

policies and procedures.

        36.     ECU further agreed to specify the responsibilities of its Title IX Coordinator and

corresponding training requirements, including “ensuring that the Coordinator and any deputies

will not have other responsibilities that create a conflict of interest.”

        37.     ECU also agreed to train staff on “the University’s responsibilities under Title IX

to address allegations of sexually inappropriate behaviors.”

        38.     Upon information and belief, OCR presently monitors ECU’s Title IX compliance.

II.     ECU Title IX Training and Potential for Gender Bias

        39.     ECU’s Title IX compliance officers, along with its Victim Advocates are, upon

information and belief, responsible for training ECU’s Title IX investigators, and Student Conduct

Board members to use a “trauma informed approach” in “responding to sexual misconduct.” ECU

personnel also refer to this as “sensitivity training.”




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        40.     Attendees are taught that sexual assault victims may give conflicting accounts of

what happened to them because their brains are impacted by trauma—preemptively setting up an

excuse for any credibility issues that may arise during the course of an investigation and assuring

that complainants are always presumed to be truthful. For example, one training slide advised

“[t]he way someone reacts to an event should not determine whether or not we believe that the

event happened (prime example: sexual assault).”

        41.     ECU Title IX training also relies on faulty statistics to concretize the idea that all

complainants should be believed. For example, at one training a slide was presented that said

“Believe the student no matter what.” Kat Bursky, an ECU Victim Rights Advocate, advised

trainees in relation to this directive that only 2%-4% of sexual assault allegations are false reports.

This statistic—lifted from the feminist work of Susan Brownmiller as opposed to empirical

research—was not only misquoted but its validity has frequently been questioned. Bursky further

advised trainees to assure the alleged assault victim that it is not their fault.

        42.     ECU also offers training programs to its Student Conduct Board members that are

given by the AEquitas: The Prosecutors’ Resource on Violence Against Women. Per AEquitas’

website it “is able to provide prosecutors with the support, training, mentorship, and resources

necessary to objectively evaluate and constantly reexamine and refine their approach to justice in

gender-based violence and human trafficking cases.” ECU offers an AEquitas program to Student

Conduct Board members titled “Who needs force when you have alcohol?” A description of the

training is on AEquitas’s website:

        This presentation, delivered in two parts, explored common issues and challenges related
        to the investigation and prosecution of sexual assault cases where alcohol is present. More
        specifically, the presenters focused on identifying corroborating evidence, interviewing
        victims, basic toxicology, the [e]ffect of societal attitudes about alcohol on determinations
        of victim credibility, and trial strategies. In addition, these recordings promote a victim-



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       centered response that incorporates offender-focused strategies for effective investigation
       and prosecution of AFSA cases.

Thus, ECU provides training for its Student Conduct Boards that is grounded in the prosecution

of criminal cases, with a focus on violence against women. The prosecutorial process takes an

adversarial approach to men accused of sexual assault, while colleges and universities, which apply

the lesser preponderance of the evidence standard, are supposed to provide a fair and impartial

inquisitorial approach.

       43.      ECU also provides Title IX training led by the Association of Title IX

Administrators (“ATIXA”) to Student Conduct Board members and, upon information belief,

ECU’s Title IX investigators. ATIXA has been known to use gendered language in its training

courses, portraying men as sexual aggressors and referring to respondents in sexual misconduct

cases as male. ATIXA trainings have also advised Title IX administrators to prohibit hearing panel

members from questioning complainants about the details of the alleged sexual misconduct so as

not to traumatize them.

       44.      Upon information and belief, ATIXA training programs provided to ECU

administrators, including Student Conduct Board members, included biased assumptions that

males are responsible for obtaining consent and are typically the respondents in sexual misconduct

cases, while complainants are typically females who always tell the truth and are traumatized.

       45.      One ATIXA training offered to ECU Student Conduct Board members, Blackouts

and Consent, includes a slide which defines “Consent” and features a photograph of a female

student, carrying her books, with a smile on her face, suggesting that females give, and males ask

for, consent.

       46.      On March 8-9, 2018, ECU hosted an ATIXA training for Student Conduct Board

members that advised how panels can protect themselves from being “attacked” in lawsuits

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brought by students dissatisfied with the outcomes of their sexual misconduct cases, in effect

teaching board members to take an adversarial position in proceedings that are supposed to be

impartial.

           47.     Upon information and belief, ECU’s training programs foster a gender-biased

approach to investigating and adjudicating sexual misconduct cases which begins with the

presumption that males accused of sexual misconduct are guilty of the alleged misconduct.

III.       ECU’s Campus Climate: ECU Takes Measures to Protect Female
           Complainants In Response to Student Outcry              __

           48.     As one of the largest universities in the University of North Carolina system, ECU

is regularly a focus of media scrutiny, particularly with respect to the manner in which it handles

campus sexual assault. The propriety of ECU’s handling of sexual assault on campus has long

been criticized by its female students and the student newspaper, The East Carolinian. This was

particularly so in the months prior to the investigation into the false sexual misconduct allegations

against John Doe.

           49.     In January 2015, ECU was in the local press when a sexual assault was alleged to

have occurred at an ECU fraternity house, causing the social activities of campus fraternities to be

temporarily suspended.

           50.     Although police eventually concluded that no sexual assault occurred, on February

4, 2015, ECU issued a press release stating that it was “taking on” sexual violence (the “February

2015 Press Release”). The February 2015 Press Release referenced the 2011 Dear Colleague Letter

and noted that “[i]n May 2014, the OCR announced it was investigating 55 colleges and

universities…and their handling of sexual abuse complaints.”3 It assured readers that ECU Police




3
    As discussed supra ¶¶ 30-38, ECU was under OCR investigation at this time.

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and the Division of Student Affairs would continue raising awareness through events such as

“Take Back the Night” and “Walk A Mile In Her Shoes4”

         51.      Quoted in the February 2015 Press Release was Defendant Hardy, ECU’s Vice

Chancellor for Student Affairs:

         We need to hit it head on…several studies indicate that a substantial proportion of
         female students—between 18 and 20 percent—experience rape or some other form
         of sexual assault during their college years. At ECU, from 2010 to 2012, reports of
         forcible sex offenses on campus climbed from four to 11. Whether that indicates an
         increase in the crime or an increase in reporting isn’t clear. (emphasis added).

         52.      Also quoted in the February 2015 Press Release was “sexual violence expert,” and

ECU professor Heather Littleton, who stated:

         A lot of women who have been sexually assaulted don’t feel comfortable seeking
         in-person therapy…. Over half of them don’t consider what happened to them to
         be rape or even a crime. (emphasis added)

         53.      Per the February 2015 Press Release, “ECU has worked during the last few years

to encourage reporting through educational programs, outreach and improving the reporting

process.” LaKesha Alston Forbes, Associate Provost for Equity and Diversity and Title IX

Coordinator, “agree[d] that it might seem odd that an administrator would get involved in what

would seem like a police matter, but she says police are limited in their jurisdiction to provide

‘interim measures’ to maintain a safe and equitable campus environment.” Forbes added “Title IX

has really called for increased prevention and response efforts for the campus as well as enhancing

critical partnerships with campus and local police departments.” The February 2015 Press Release

concluded with a quote from Bill Koch, Associate Vice Chancellor, that “we need to reduce our

risk if we can. There are predators out there, and they are looking for easy targets.”



4
  This event requires men to walk a mile in women’s high heels. Per the official website of “Walk A Mile In Her
Shoes” it is a playful opportunity for men to raise awareness in their community about the serious causes, effects and
remediations to men's sexualized violence against women.” (emphasis added). http://www.walkamileinhershoes.org/

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         54.      On February 6, 2015 ECU announced that it was reviewing its fraternity guidelines

and created a website called “ECU Cares”5 which included information and resources that inform

people on how they can file a report and how to safely intervene if they witness a sexual assault.

         55.      In mid-April 2015, ECU announced that it had joined the “It’s On Us” campaign6

and launched a week of awareness that included a panel which involved a female ECU student

who was a survivor of sexual assault. The panel also included Dean of Students and Defendant

Roeder. In an East Carolinian article, a representative for the SGA was quoted as saying “we can’t

fix the world’s injustices all in a week…. As we continue into the next year, this campaign will be

the building block on our relationships with the administration, the community and even the state

when we talk about sexual assault in Pirate Nation.”

         56.      In late April 2015, the East Carolinian published an article captioned “If ‘It’s On

Us, what’s on ECU?,” which heavily criticized ECU for failing to protect complainants in sexual

misconduct cases, causing complainants additional trauma and failing to “treat[] complainants in

a just manner.” As outlined in the article ECU administrators: (i) frequently asked complainants

about what they were wearing on the nights of the alleged assaults; (ii) failed to ask complainants

how they were coping with the incidents; (iii) took too long to conclude investigations; (iv)

callously notified complainants about case outcomes by email; (v) dismissed the majority of sexual

assault complainants; (vi) failed to impose adequate interim measures to avoid further complainant

traumatization; (vii) failed to pursue investigations in cases where criminal charges were dropped;

and (viii) covered up sexual assault complaints to protect ECU’s reputation.


5
  The current version of the ECU Cares website contains a link to “Victim Services.” The Victim Services page,
predominantly portrays men as sexual aggressors. 3 out of 4 hand drawn cartoon images on the page show a male and
female in various situations in which the women confirm that “Just Because…Doesn’t Mean I Owe You.”
http://www.ecu.edu/cs-studentaffairs/victimservices/
6
  Notably, the national It’s On Us website prominently features statistics about female sexual assault victims, including
“female students are 4X as likely to be victims of sexual assault than males.” Also included on the website are videos
portraying men as rapists. http://www.itsonus.org/

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         57.      The article quoted Defendant Hardy as stating “[Sexual assault] is an ever moving

target…we’re always tweaking things from what’s being told from us from the federal government

or whomever, but also feedback.” Defendant Roeder, Dean of Students, said she wants students

“to feel that their case is taken seriously and that we did everything and we support them in anyway

we can…[w]e don’t know if they don’t come to us. I really want them to feel okay to come.”

         58.      On April 28, 2015 ECU responded to the criticism through Hardy who posted an

article in the East Carolinian. In the article Hardy made the following statements:

         (i)    “Sexual assaults are high profile concerns on college campuses around the state and
         nation…the university is not sitting quietly.”

         (ii)   The 2011 “Dear Colleague Letter” and the “Not Alone” report from the White
         House in 2014, shifted Title IX “significantly to focus on sexual assault, sexual violence
         and sexual misconduct. These guiding principles forced…colleges and universities to
         evaluate existing reporting processes associated with Title IX.” (emphasis added).

         59.      On September 22, 2015, the local news, CBS North Carolina, published a story

about how ECU did not adequately investigate a female student’s rape claim. The report noted:

“Prior to [2015] ECU had one person overseeing Title IX, which sexual assaults fall under. After

students voiced concerns, the university decided to train everyone in the Office of Student Rights

and Responsibilities to handle the cases, bringing the number from one to seven.”

         60.      On November 9, 2015, ECU kicked off Purple Pledge Week “a weeklong initiative,

focused on education and advocacy centered on the issues of sexual violence, harassment and

bullying.” This was part of a “national initiative” that occurs on college campuses. Activities

featured a “Take Back the Night” walk, a video from the “It’s On Us” campaign, purple wristbands

and a Clothesline Project.7 ECU’s faculty were also invited to play an It’s On Us video as students


7
  The Clothesline Project is a national project founded in 1990 that was meant to attention to the “real meaning of
violence statistics that are often ignored” about how many women “were killed by the men who claimed to love
them.” http://clotheslineproject.info/index.php


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filed into classrooms during that week, regardless of the subject matter of their classes. ECU’s

Associate Director for Student Involvement and Leadership, Erik Kneubuehl, noted “This is a

branded mission to change the culture of ECU’s campus around the idea that sexual violence…has

to end.” (emphasis added).

       61.     On November 12, 2015, in an article in The East Carolinian, Kathleen Bursky,

ECU’s “Victim Advocate,” noted that “[v]ictims find it empowering that ECU is behind them and

know what they are going through.” (emphasis added).

       62.     On November 19, 2015 ECU’s Chancellor’s Committee on the Status of Women

hosted a screening of “The Hunting Ground” on campus. The screening was followed by a panel

discussion and experts and counselors were on hand so that “all” issues that arose would be

“handled with great sensitivity.”

       63.     The Chancellor’s Committee on the Status of Women is an ECU Committee that

advises the Chancellor, Provost and other university leaders on the planning, implementation and

evaluation of policies and practices that promote equity and further the welfare of all women

associated with ECU. http://www.ecu.edu/cs-acad/ccsw/about-us.cfm. Defendant Hardy, Vice

Chancellor for Student Affairs, LaKesha Alston Forbes, ECU’s Title IX Coordinator, and Malorie

Porter, Title IX Compliance Officer, are ex officio members of this Committee. Id. “Advocacy”

work done by the Committee includes having an “active role” in preventing sexual assault at ECU

including working on ECU’s 2015 “Title IX campaign.”

       64.     As set forth below, ECU was notified of sexual misconduct allegations against John

Doe, within days of the conclusion of Pledge Purple, and within 48 hours of the campus screening

of the Hunting Ground. Upon information and belief, the campus pressures faced by ECU




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administrators to protect female victims caused them to investigate and adjudicate the allegations

against John Doe in a manner that discriminated against him because he is male.

       65.     Public statements made by ECU administrators from February 2015-November

2015, as well as the sexual assault advocacy events that took place on campus, indicate that ECU’s

administrators were facing extreme pressure to implement Title IX procedures that were more

favorable and more sympathetic to female sexual assault victims and that would encourage

reporting.

       66.     ECU’s Title IX personnel engaged in activities in which they advocated for female

victims of sexual assault, as part of a campus wide campaign. This was, at a minimum, a conflict

of interest and indicative of bias in favor of female victims of sexual assault. Upon information

and belief, ECU’s Title IX personnel were unable to execute ECU’s sexual misconduct policies

and procedures, including the investigation of complaints, in a fair and impartial manner due to

their bias in favor of female victims and mission to stand behind those victims in the face of federal,

local and campus pressure.

       67.     ECU’s administrators operated under the assumption that females were typically

victims of sexual assault and males the sexual aggressors. Upon information and belief, ECU’s

female friendly Title IX campaign, which began in January 2015, caused ECU to take a more

aggressive stance towards men accused of sexual misconduct and led to more men being found

responsible for violations of ECU’s sexual misconduct policy. Upon information and belief, since

January 1, 2015, no females have been accused of sexual misconduct at ECU. Upon information

and belief, all males accused of sexual assault since 2015 have been sanctioned.




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IV.    The Allegations Against John Doe

       68.     John Doe is a lifelong resident of North Carolina, regularly attends the same local

church with his extended family and is an Eagle Scout. He is also a member of Mensa.

       69.     In November 2015, John Doe was enrolled in the Masters of Criminal Justice

program at ECU, which is taught online. John Doe did not attend classes on ECU’s campus for

this program. He anticipated obtaining his Master’s Degree in December 2016. After that, John

Doe intended to enter Officer Candidacy School for the United States Marine Corp. and was

actively discussing the same with a Marines Corp. representative. John Doe’s future goal was to

become an attorney, and he scored well on the LSAT.

       70.     Prior to enrolling in ECU’s online graduate program, John Doe attended ECU as

an undergraduate student, obtaining his Bachelor’s degree in May 2015.

       71.     John Doe was friends with M.K., an ECU undergraduate, through a service

fraternity to which they both belonged. They met when John Doe was an ECU undergraduate.

After he graduated, John Doe and M.K. stayed in touch. M.K. invited John Doe to attend a party

she was having at her off-campus apartment on the night of November 20, 2015. He agreed and

attended the party with two of his friends. The party, disguised as a birthday party for M.K., was

actually a celebration of the new fraternity members who had obtained full membership status

earlier in the evening, following a semester-long pledging process.

       72.     At the party John Doe met Jane Roe for the first time. Jane Roe, an ECU

undergraduate student, was his friend M.K.’s roommate. During the party Jane Roe was flirting

with John Doe and they danced together with a group of people. Before leaving the party in the

early morning hours of November 21, 2015, John Doe looked for Jane Roe to say goodbye. When

he was saying goodbye, the two started kissing and made their way into a small bathroom. Jane



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Roe removed her clothes and helped John Doe remove most of his. She performed oral sex on him

and then they engaged in vaginal intercourse in two different positions. They did not use a condom.

During intercourse, Jane Roe instructed John Doe that it was permissible to ejaculate in her vagina

because she had subdermal birth control embedded in her left arm. John Doe was confused by this

offer as he was unfamiliar with this type of birth control. He withdrew and subsequently ejaculated.

       73.     During the interaction, someone knocked on the door twice, with a short break

between the first and second knock. Jane Roe instructed John Doe to yell “F*%k Off” to the person

on the other side of the door following the second knock. John Doe yelled “F*%k Off” so they

could continue their interaction. When the two were finished, Jane Roe leaned in to kiss John Doe

on the lips. He turned his head and the kiss was instead planted on his neck. Jane Roe asked John

Doe “Who should leave first?” John Doe responded “I don’t care” so Jane Roe left first and John

Doe followed shortly after. Shortly after, John Doe took an Uber car home with his friend, S.K.

       74.     On the morning of November 21, 2015, shortly after leaving the party, John Doe’s

friend M.K. called him and told him that Jane Roe had accused him of rape. John Doe denied all

accusations as the encounter was consensual. M.K. and John Doe mutually agreed to talk later that

morning. She asked him to call her at 10:00 a.m. John Doe attempted to contact M.K. several times

at 10:00 am and through the next 30 minutes. M.K. never answered her phone. Instead, another

attendee at the party, J.P. sent John Doe a message via Facebook calling him a “monster for what

John Doe had done to his best friend.” John Doe was shocked as every aspect of his interaction

with Jane Roe was consensual, as evidenced by, among other things, her unsolicited exclamation

about birth control.

       75.     John Doe called his mother to inform her of the early morning event. At her request,

John Doe immediately made the 22-mile trip home while she called a local attorney for advice.



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On the evening of November 21, 2015, the attorney came to John Doe’s residence to discuss the

allegations. Specifically, the attorney learned that Jane Roe had made a report to police, accusing

John Doe of rape and that a detective, Coggins, had tried to locate John Doe at his place of

employment. The detective phoned John Doe’s cellphone and left a message for John Doe to

contact him. Because of the rural nature of John Doe’s residence, cellular reception is spotty and

inconsistent hence the reason for the missed call.

       76.     As John Doe was listening to the voice message, Detective Coggins phoned a

second time. Caller ID indicated the incoming call was from the investigating officer. Therefore,

John Doe’s attorney answered the phone and talked to Detective Coggins. The call was dropped

due to poor reception. While attempting to make contact with Coggins via a land line phone,

Coggins called on the land line phone and talked to John Doe’s attorney. He informed Coggins

that John Doe would be available for questioning only in the presence of his attorney. Given the

late hour and that Thanksgiving was four days away, it was mutually agreed upon that Detective

Coggins would question John Doe at his attorney’s office the following week. Detective Coggins

was to schedule the meeting. Detective Coggins was never heard from again. No meeting ever

occurred with John Doe despite the agreement and willingness of John Doe to talk with Coggins

in the presence of his attorney.

       77.     On December 9, 2015 John Doe was arrested. John Doe was charged with sexual

assault but these charges were not prosecuted due to insufficient evidence, including, upon

information and belief, evidence that Jane Roe had recently engaged in another sexual encounter

as supported by evidence of a third person’s DNA discovered via the processing of the rape kit by

the North Carolina State Crime Lab.




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V.     The Myriad ECU Policies and Procedures Related to Sexual Misconduct:
       Agreements, Representations, Covenants and Warranties Between Plaintiff and ECU

       78.     In November 2015, a veritable maze of policies and procedures were in place at

ECU: (i) “Student Conduct Process: Interim, effective as of 1/1/15;” (the “Student Conduct Code”)

(ii) “Interim Regulation on Responding to Complaints of Sexual Harassment, Sexual Misconduct

and/or Discrimination on the Basis of Sex,” effective as of 11/25/14 (the “Interim Sexual

Misconduct Regulation”) and (iii) “Regulation Addressing Sexual Assault, Domestic and Dating

Violence as required by the Violence Against Women Act Amendments to the Clery Act: Interim,”

effective as of 8/18/15 (the “Interim VAWA Regulation”).

       79.     Because ECU is a constituent university of the University of North Carolina

(“UNC”) system, it was also governed by UNC policies and procedures, including but not limited

to the “Policy on Minimum Substantive and Procedural Standards for Student Disciplinary

Proceedings” (§ 700.4.1 of the UNC Policy Manual).

       80.     UNC’s “Policy on Minimum Substantive and Procedural Standards for Student

Disciplinary Proceedings” (§ 700.4.1 of the UNC Policy Manual) require:

       (i)     Notice and an opportunity for a hearing. § II.

       (ii)    That the decision reached be neither arbitrary nor capricious, there is “some
               evidence to support the decision reached.” § III.

       (iii)   For violations of student conduct codes that could result in suspension or expulsion,
               the provision of a written notice that “specifies the offense(s) charged” and contains
               a “brief recitation of the factual allegations supporting the charge.” § VI.A.2.

       (iv)    In cases that go to a hearing, “the student must be given the opportunity to review
               any written evidence that will be used at the hearing and to obtain a list of
               witnesses.” § VI.A.6.

       (v)     “The institutions shall ensure that students have the capability to present their
               evidence and defenses at the hearing.” § VI.A.8.




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       (vi)      “At the hearing, a designated university official must present sufficient witness
                 and/or documentary evidence to establish the violation. The student must be given
                 an opportunity to question this evidence, either by indirect questions or inquiries
                 transmitted through the committee or hearing official.” § VI.A.11.

       (vii)     “At least one level of institutional appeal must be permitted…Further appeals shall
                 be governed by the Code of the University of North Carolina.” §§ VI.A.17-18. UNC
                 Code Section 502 D (3) states in part “in discharge of the chancellor’s duty with
                 respect to matters of student discipline, it shall be the duty of the chancellor to
                 secure to every student the right to due process. Appeals from these disciplinary
                 decisions are allowable only on the following grounds:….Where the sanction is
                 suspension an appeal may be made to the board of trustees.”

       (viii)    “If the formal charge is also the subject of pending criminal charges, the institution
                 must, at a minimum, allow an attorney advisor to accompany the student to the
                 hearing.” § VII.A (emphasis supplied).

       (ix)      In cases of alleged sexual misconduct, both parties are entitled to the same
                 opportunities to have others present during a disciplinary proceeding. § VII.C.

       81.       The Student Conduct Code incorporates the UNC “Policy on Minimum Substantive

and Procedural Standards for Student Disciplinary Proceedings” by reference and provides in

relevant part:

       (i)       The Board of Governors and the President of the University of North Carolina have
                 delegated the responsibility to manage student conduct to the Chancellor of each
                 constituent campus.” § 1.1. From November 2015 to June 30, 2016, Steve Ballard
                 was the Chancellor of ECU. From July 1, 2016 to the present, Cecil Staton has
                 served as ECU’s Chancellor.

       (ii)      “ECU’s Chancellor, in turn, charged the Vice Chancellor for Student Affairs with
                 overseeing the student conduct process. The Office for Student Rights and
                 Responsibilities and the Student Conduct Board have been created to assist this
                 effort.” § 1.1. Defendant Hardy served as the Vice Chancellor of Student Affairs
                 during the relevant time period.

       (iii)     “students have the right to be treated with respect and consideration, have freedom
                 of inquiry, and have reasonable use of services and facilities.” § 1.3.

       (iv)      “[u]pon acceptance of admission to ECU, each student agrees to abide by the
                 policies of the University and to conduct her/himself on- and off-campus in a
                 manner consistent with its educational mission.” § 1.3.1.



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(v)      “[v]iolations of the Student Code of Conduct, will result in educational and/or
         disciplinary sanctions. Sanctions are designed with the intent of educating
         Respondents and protecting the ECU community. No sanctions will be enforced
         until all reviews have been exhausted.” § 3.

(vi)     OSRR may take “Immediate Administrative Action” in order to “preserve the
         safety and well-being of the ECU community and its members.” §3.1. “These
         actions include, but are not limited to…no-contact ban or removal from classes,
         and administrative suspension.” Id.

(vii)    Administrative suspension is “the immediate separation of the student from
         enrollment at the University…becomes effective immediately whenever there is
         information that the continued presence of the student on University property poses
         a substantial threat. A substantial threat might include, but is not limited to, [or]
         threatening the safety of any person, significantly harming or attempting to harm
         someone.” § 3.1.2.

(viii)   “Both Complainants and Respondents in cases specific to sexual misconduct, will
         be provided information about available on and off campus resources, including
         but not limited to: victim advocacy, counseling/mental health services, disability
         support services, health services, and explanation and assistance regarding
         reporting a crime to campus or local law enforcement.” § 3.1.1.

(ix)     “[w]hen determining sanctions, conduct administrators and members of the Student
         Conduct Board take into account, the nature and seriousness of the violation, the
         impact of the violation on the community, the Respondent’s past conduct history,
         as well as the Respondent’s developmental needs, and mitigating or aggravating
         factors existing at the time of the offense, which may include but are not limited to:
         past disciplinary record, the nature of the misconduct …as well as other relevant
         information regarding the degree of any damage, injury, or harm resulting from it.”
         § 3.2.

(x)      “Respondent Rights” including (a) the right to an “objective and impartial
         evaluation of the complaint;” (b) the right to “reasonable access to all information
         gathered throughout the evaluation pertinent to the alleged violation;” (c) the right
         to present information “relevant to the alleged violation;” and (d) the right to
         respond to information presented against him. § 4.1

(xi)     Complainants have the right to submit written impact statements to the Student
         Conduct Board. Respondents do not. §§ 4.1, 4.2.

(xii)    Complainants have the right to be “free of irrelevant questions about sexual
         history.” § 4.2.1.6. Respondents do not have this right. § 4.1.1.

(xiii) “The ECU conduct process functions independent of the criminal justice system.”
       § 5.1.2.

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(xiv)   The standard used throughout the conduct process to reach case resolution is
        “preponderance of the evidence.” “This standard will be used to evaluate the
        evidence for purposes of making findings and drawing conclusions for an
        investigation conducted under this regulation; meeting the standard constitutes a
        conclusion it is more likely than not that the alleged conduct occurred.” § 5.1.3.

(xv)    Respondents are permitted to have licensed attorneys at Student Conduct Hearings.
        If they choose to bring an attorney they are not permitted to have a non-participating
        support person present. § 5.1.4. This rule does not apply to complainants. However,
        in less serious cases before a Conduct Administrator, respondents are permitted to
        have an attorney and a support person present. Id.

(xvi)   After a complaint of sexual misconduct is alleged, and before the Respondent is
        notified of the allegations or charges against him, OSRR holds a “gathering of
        information meeting” with the Respondent. § 5.2.3.

(xvii) After the meeting, “[i]f a student is to be formally charged with a potential violation
       of the Student Code of Conduct, the student will receive a written notification
       …which will include written notice of the allegation, with a brief summary, as well
       as possible sanctions.” § 5.2.5. A “follow up meeting” with Respondent will also
       be scheduled. Id.

(xviii) “If the alleged violation might result in suspension or expulsion, the matter will be
        referred to the conduct board and will take place no earlier than ten calendar days
        after the meeting notice is sent to the student via letter or e-mail.” §§ 5.2.5.2; 5.4.1
        (emphasis added).

(xix)   In cases which require a hearing, the OSRR will notify the student in writing of
        “the charge, a brief summary of the allegation, possible sanctions, and the hearing
        date and time.” § 5.4.1.

(xx)    In cases of alleged sexual misconduct, the hearing panel is composed of two faculty
        members and three staff members. One member is a non-voting Chair, who
        facilitates the panel’s discussion and is responsible for writing “a rationale for the
        panel’s decision.” § 5.4.3.

(xxi)   The outlined hearing process does not include the respondent’s right to ask
        questions of the complainant and/or witnesses, whether in writing or through the
        hearing panel. § 5.4.4.

(xxii) The hearing panel is “to review all available, relevant information, and based on a
       preponderance of the evidence standard, make a determination as to whether or not
       a violation of the Code has occurred.” § 5.4.4. If the hearing panel finds a student
       responsible at the hearing, then it will determine sanctions on the same day. “The
       decision will also be shared with the Respondent in writing within ten calendar days

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               of the date the decision was made. The letter will include a brief summary of the
               information upon which the decision was based and, will outline Respondent’s
               appeal rights.” § 5.4.4.4.

       (xxiii) Respondents have only 5 calendar days from the date that the written decision is
               received to submit an appeal to the OSRR. § 5.5.4.

       (xxiv) In cases where suspension or expulsion is the sanction, the final decision on appeal
              must be made within 45 calendar days after the hearing. The Respondent must
              receive written notice of the decision within 10 calendar days of the decision,
              including a brief summary of the information upon which the decision was based.
              § 5.5.8.

       (xxv) Only students who are expelled have a second right of appeal, to the East Carolina
             University Board of Trustees even though the ramifications of a suspension versus
             an expulsion are the same. §§ 5.6, 6.2, 6.4

       (xxvi) ECU maintains conduct records of students who are suspended or expelled
              indefinitely. § 6.2. Information about students who are suspended, expelled or
              “have serious pending cases” is entered into a University of North Carolina
              (“UNC”) database where it is stored permanently. All UNC constituent institutions
              have access to the database.

       (xxvii) ECU places a permanent mark on the transcripts of students who have been
               suspended or expelled. § 6.4.

       81.     The Interim VAWA Regulation, which was in effect at the time of Jane Roe’s

university complaint against John Doe:

       (i)     referred to complainants as “victims” and respondents as “respondents;”

       (ii)    adopted the student conduct process set forth in the Student Conduct Code, as set
               forth in Paragraph 60. §6.8.1;

       (iii)   applied the “preponderance of the evidence” standard in sexual misconduct cases
               against students but required “clear and convincing evidence” in cases alleged
               against ECU faculty—including in cases alleging sexual assault. §§ 6.9.1, 6.9.2.

       (iv)    stated “[t]he University endeavors, in and through each of the listed disciplinary
               proceedings it conducts, to provide a prompt, fair and impartial process and to
               complete the process of investigation and determination of responsibility within a
               reasonable time frame, typically sixty days. This timeline may be extended by the
               University with notice to the parties.” § 6.6.1 (emphasis supplied).



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       82.     The Interim Sexual Misconduct Regulation states the following “Investigation

Principles:”

               (i)     basing findings on the preponderance of the evidence standard (§ 4.2.1);

               (ii)    treating all parties fairly and equally (§4.2.2);

               (iii)   notifying all parties that the investigation will be impartial prompt and
                       thorough (§4.2.4)

       83.     The Interim Sexual Misconduct Regulation provides that “the University will make

every effort to complete investigations within approximately 60 calendar days, depending on the

complexity of the investigation and severity and extent of the alleged conduct.” § 4.7.

       84.     The Interim Sexual Misconduct Regulation permits ECU to keep complaints

confidential—including by keeping information from the respondent—and to notify the

complainant that an investigation is proceeding before the respondent is contacted. §§ 5.3.1. 5.3.2.

       85.     The Interim Sexual Misconduct Regulation provides that “[i]nformation will be

provided to both parties with respect to filing criminal charges.” § 6.4.1(emphasis added).

       86.     During the course of the 6-month investigation and adjudication of Jane Roe’s

university complaint against John Doe, described infra, ECU revised its Student Conduct Code

and replaced the Interim Sexual Misconduct Regulation and Interim VAWA Regulation with the

Regulation on Sexual and Gender-Based Harassment and Other Forms of Interpersonal Violence.

Because ECU failed to specify the exact regulations and code provisions it was proceeding under

in John Doe’s case—including in his sanction letter—it was unclear to John Doe whether ECU

applied the regulations and Student Conduct Code in effect as of November 2015 or applied those

subsequently issued.




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VI.    ECU’s Flawed and Biased Process: The Six-Month Investigation
       and Adjudication Period

       A. ECU Issues Baseless Interim Measures Against John Doe Under A
          Presumption of Guilt and Without Providing Notice of the Specific
          Allegations

       87.     On November 24, 2015, Kristan Tucker (“Tucker”), a Title IX investigator, emailed

John Doe a no contact order directing him to have no contact with Jane Roe or their mutual friend

M.K. At the time, John Doe was taking graduate classes online, whereas Jane Roe and M.K. were

undergraduates. They shared no classes together nor had occasion to come into contact with one

another on campus.

       88.     On the same day, Tucker sent John Doe a second letter informing him that OSRR

“received a report involving possible conduct related to Title IX.” It further stated “The report

alleges a possible Title IX violation, in which you were named as a Respondent.” The letter did

not specify the complainant, date, time or location of the alleged violation. The letter did not

specify the provisions of the ECU policies which were at issue as a result of the allegations. The

letter did require John Doe to attend an “information gathering meeting” so that he could “provide

[his] perspective of the incident” even though he was provided with no information about said

“incident.” Finally, the letter informed John Doe that a hold “may have been placed” on his

registration records.

       89.     On December 2, 2015 John Doe and his attorney met with Tucker. Tucker asked

him to give his account of the “incident” with Jane Roe but failed to provide John Doe with any

details of the specific allegations against him. John Doe’s attorney informed Tucker that he could

not respond to allegations if they were not specified. In response, Tucker indicated that she was

aware of the criminal investigation into Jane Roe’s allegations. She further informed John Doe

that a “witness,” John Doe’s friend M.K., told Tucker that John Doe had acknowledged having

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sex with Jane Roe—there was no statement at that time from M.K. that he admitted to rape. As

discussed infra Paragraph 158, M.K. later changed her story. Tucker could not provide John Doe

with any further allegations. Tucker stated that she would schedule another meeting with John Doe

after conferring with University Counsel on how to proceed.

       90.     On December 9, 2015, John Doe was arrested. See supra ¶ 77.

       91.     On the same day, Tucker sent John Doe a letter informing him that ECU would

investigate the allegations against John Doe. This letter, again, failed to detail the allegations or

the ECU code provisions applicable to those allegations, leaving John Doe in the dark about the

potential violations that he faced. Attached to the letter were forms signed by John Doe as well as

copies of ECU’s Violence Against Women Act/Title IX brochure; a list of resources geared

towards victims of sexual assault. Notably, one form signed by John Doe indicated that Tucker did

not discuss with him whether he wanted a no contact order against Jane Roe or assistance with

filing a criminal complaint against her. John Doe was also required to sign a form acknowledging

Respondent’s rights and responsibilities as set forth in the Student Conduct Code.

       92.     ECU then obstructed John Doe’s access to his education file. Tucker’s letter to John

Doe further notified him that—even though he was now a respondent in an ECU investigation—

ECU was not required to give him immediate access to his education files under FERPA and “[d]ue

to current scheduling and the approaching university winter break schedule” ECU could not

arrange for access until the week of January 4-8, 2016.

       93.     Upon information and belief, Tucker did not have the requisite training or

experience to adequately, fairly and impartially conduct Title IX investigations. Tucker, an

attorney by training, also, upon information and belief, held an adversarial and biased approach

towards male respondents accused of sexual misconduct. To the extent that Tucker received



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training on Title IX investigations, upon information and belief, said training adopted a trauma-

informed approach and fostered gender-biased views against males as sexual aggressors.

       94.    On December 10, 2015, Defendant Tamika Wordlow (“Wordlow”), Director of the

OSRR, emailed a letter to John Doe which, again, failed to detail Jane Roe’s allegations against

John Doe and listed all ECU policies applicable to sexual misconduct without specifying the code

provisions that potentially applied to John Doe’s case. He was merely informed that he could meet

with administrators to discuss the allegations “when circumstances permit.”

       95.    Wordlow’s December 10, 2015 letter further notified John Doe that due to the

pending criminal charges against him, OSRR implemented an immediate administrative

suspension, restricting access to all property owned and operated by ECU. OSRR also cancelled

John Doe’s Fall 2015 course registration, even though he was an online student and despite the

fact that his finals were substantially completed. ECU also cancelled John Doe’s Spring 2016

course registration, evidencing a presumption that he would be found responsible for the

misconduct alleged.

       96.    On December 10, 2015, while John Doe was in holding at the local county jail,

ECU administrators from OSRR gained access to John Doe by sending an ECU police officer to

the jail and causing John Doe to sign documents under duress. While in custody, and during a

period of extreme emotional distress, John Doe signed a document acknowledging receipt of

Wordlow’s December 10, 2015 letter and was given a trespass warning banning him from all ECU

properties.

       97.    On or about December 10, 2015, ECU violated John Doe’s right to privacy and

confidentiality under FERPA, and its own policies, by discussing John Doe’s academic history

with a local newspaper reporter and two local news channels, including that John Doe was no



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longer enrolled at ECU. Because ECU had blocked John Doe’s access to his education records,

this is the manner in which he learned that he had been removed from ECU enrollment.

        98.     John Doe appealed the administrative suspension and cancellation of his course

registration. On December 17, 2015, John Doe was notified that his appeal was denied. His appeal

was reviewed by Dean of Students, Defendant Roeder, who “after thoroughly reviewing your case

file has determined that you present a significant safety risk to the ECU Community and has denied

your appeal.” Not only had John Doe been denied access to the “case file” that was the basis for

Roeder’s decision, the only evidence that could have been in the case file were Jane Roe’s

allegations, as John Doe—now subject to criminal charges—had not been able to present his side

of the story.

        99.     In implementing the administrative suspension, ECU determined that John Doe—

a student in good standing who had no history of disciplinary issue—was guilty simply because

Jane Roe filed a criminal complaint against him. Based on this presumption of guilt, and without

evidence, ECU destroyed an entire semester of John Doe’s graduate work. ECU further harmed

John Doe by banning him from “all property owned and operated by ECU” because this denied

him access to medical services. John Doe’s physician was located on ECU’s health sciences

campus as he is a physician employed by ECU within the Brody School of Medicine. The health

sciences campus is approximately four miles from the main campus.

        100.    Shortly after the suspension was implemented, John Doe fell ill and suffered severe

emotional distress, including suicidal ideation. He was terrified to visit his physician to obtain a

referral or other services due to the fact that ECU banned him from its property. No one had

advised John Doe that the ban could be lifted for medical, or other reasons, or provided him with




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instructions on how to get the ban lifted in order to see his medical provider. This resulted in

additional emotional distress and delay in receiving care in an outpatient setting.

        101.   On December 15, 2015, John Doe met with his physician at a local Starbucks rather

than within the normal medical setting. As a result of their conversation, John Doe’s physician

prescribed medication to John Doe. Because the prescription was embossed with the ECU seal,

and prescribed by an ECU physician, John Doe did not fill the prescription out of fear of reprisal

from ECU under a presumed violation of the No Trespass order.

        102.   On December 22, 2015, John Doe suffered an extreme panic attack following night

terrors and continued suicidal ideation. John Doe reached out to a local physician known to his

family who assessed his mental state and provided emergency medication. Jon Doe secured an

appointment with a new medical provided in or around December 28, 2015.

        B. Wordlow Assigns Inexperienced and Biased OSRR Employee to Investigate John
           Doe’s Case After Notifying John Doe About Her Excitement That the Prior
           Investigator Left and Is Fulfilling Her Career Aspirations

        103.   On January 5, 2016, John Doe received an outrageous letter from OSRR Director,

Tamika Wordlow, informing him that there would be a change in the Title IX investigator assigned

to his case:

        Originally, Kristan Tucker was assigned to your case as the Title IX investigator.
        Ms. Tucker will no longer be affiliated with [ECU] beginning January 9, 2016. The
        [OSRR] is excited for Ms. Tucker as she continues her career aspirations.
        (emphasis supplied).

The letter suggested that Wordlow and ECU were more concerned about Tucker’s career

aspirations than John Doe’s right to a timely, fair and impartial investigation. Wordlow further

informed John Doe that Defendant Butler would be the new Title IX investigator on his case.

        104.   Upon information and belief, Butler, a recent ECU alumna who was less than two

years out of graduate school, had no prior education, experience or training in conducting Title IX

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investigations prior to being assigned to John Doe’s case. At the time that she conducted the

“investigation” Butler had not even officially been assigned the role of Title IX investigator within

OSRR. Upon information and belief, Wordlow hastily assigned Butler to this role because of

Tucker’s departure, and because the OCR investigation was pressuring ECU to respond to Title

IX complaints within a shorter timeframe.

        105.   Upon information and belief, to the extent that Butler received any Title IX training

in conducting Title IX investigations, said training adopted a trauma-informed approach and

fostered gender-biased views against males, as set forth supra Paragraphs 38-46, which caused

Butler to investigate the allegations against John Doe in a gender biased manner. Butler was the

sole investigator responsible for determining whether a policy violation occurred in John Doe’s

case.

        106.   Butler also had a conflict of interest as, upon information and belief, part of her role

within OSRR required her to monitor ECU’s policies and procedures to ensure the University’s

compliance with Title IX which impacted her ability to conduct an impartial investigation.

        107.   On January 8, 2016, John Doe and his attorney were granted access to a heavily

redacted file concerning Jane Roe’s allegations. From what could be gleaned from the file, ECU

had mostly irrelevant character evidence in the file. The full details of the allegations against John

Doe could not be determined. It appeared that Jane Roe supplemented her allegations against John

Doe after later remembering more information. There appeared to be little or no firsthand or

verbatim witness accounts in the file.

        108.   On January 14, 2016, Butler emailed a letter to John Doe stating “at this time, we

are still interviewing witnesses and collecting information.” The letter did not specify which

witnesses were being interviewed or what information was being collected—information that



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Butler, Wordlow and ECU refused to disclose to John Doe throughout the course of the purported

investigation.

       109.      On January 20, 2016, Butler emailed a second letter to John Doe. The letter—a

slightly revised form letter—quoted the Title IX statute, and then vaguely stated that ECU received

a “report” alleging a “possible Title IX violation.” The purpose of the letter was to arrange a

meeting with John Doe—who was now under criminal investigation— on a date unilaterally set

by Butler to give him “the opportunity to provide [his] perspective of the incident.” Once again,

the letter failed to detail the allegations against John Doe, or the specific code provisions that

applied. Appended to the letter was a copy of ECU’s revised sexual misconduct policy, the

Regulation on Sexual and Gender-Based Harassment and Other Forms of Interpersonal Violence,

effective as of January 1, 2016, which post-dated the allegations against John Doe. Overwhelmed

with the volume of correspondence, John Doe missed that Butler had scheduled a meeting as

opposed to sending him yet more copies of the ECU policies. They rescheduled the meeting.

       110.      On January 28, 2016, Butler emailed yet another letter to John Doe informing him

that ECU would proceed, and make a decision, based on the information gathered even if he chose

not to participate. While Butler took care to cite the code provisions relevant to ECU’s right to

proceed, the letter was—again—devoid of any information specifying the allegations against John

Doe or the code provisions relevant to the allegations.

       111.      Attached to the January 28th letter was ECU’s newly minted handout—which John

Doe received for the first time and post-dated the allegations against him—“Resource and

Reporting Guide For Students Accused of Incidents of Prohibited Conduct.” In a section titled

“Common Feelings After Being Accused of Sexual Violence” the document warned “[p]lease be

careful to avoid unhealthy ways of coping with anger such as alcohol or drug use, cutting, or other



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self-destructive behavior” yet the “resources” provided by ECU all centered around assisting

victims of sexual assault—not the accused.

       112.    On January 29, 2016, Butler informed John Doe and his attorney that they could

review his education file—a request that had been made on numerous occasions.

       113.    On February 3, 2016, John Doe and his attorney met with Mandy Messerli,

Associate Director of the OSRR, to review his education file. Messerli prohibited John Doe from

making copies. The information accessible to John Doe was so heavily redacted that he was unable

to clearly discern what information had been gathered with respect to Jane Roe’s allegations

against him. An ECU attorney was also present at the review. Messerli remained in the room during

the time in which John Doe and his attorney reviewed the file, which impeded his attorney’s ability

to take notes into a recorder. John Doe and his attorney were permitted only 2.5 hours of review

time as Messerli had to leave to pick up her child.

       114.    Upon information and belief, Butler did not interview witnesses on her own, but

instead relied on reports provided to her by local police as part of the criminal investigation, even

though the criminal process is adversarial rather than inquisitorial in nature and, according to

ECU’s own Student Conduct Code, is not relevant to evaluating evidence under a preponderance

of the evidence standard.

       115.    On February 5, 2016, due to the pending criminal matter, John Doe informed Butler

that he would not be providing information to ECU about Jane Roe’s allegations.

       116.    On February 6, 2016 Butler emailed a letter to John Doe which informed him that

“the final investigative report is being drafted.”

       117.    On February 18, 2016, Butler emailed a letter to John Doe stating:

       The investigation is complete at this time. I was able to find, by a preponderance of
       evidence, a violation of the sexual misconduct policy and/or the Student Conduct

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       Code and am referring this to the Director of [OSRR] for review and appropriate
       follow-up.

The letter concluded, as if to reassure ECU administrators, that “[t]he University has thoroughly,

carefully, and appropriately investigated the concerns brought forth.” Yet no careful, thorough or

appropriate investigation had occurred at all. Moreover, “thorough and appropriate” was not the

standard set by the Student Conduct Code.

       118.    Even though Butler found that John Doe violated ECU’s policies, she provided no

rationale for the finding. John Doe had still not been notified of the specific allegations against

him or the specific code provisions that he had purportedly violated. Nor was John Doe provided

with a copy of the final investigative report. Butler’s letter referenced the Regulation on Sexual

and Gender-Based Harassment but did not state whether the violations she purportedly found fell

under that code—which was enacted after the occurrence of the alleged incident between John

Doe and Jane Roe—or the policies in effect at the time of the alleged incident.

       119.    On April 6, 2016, John Doe and his attorney were permitted to review a heavily

redacted copy of the investigation file. They were not permitted to make copies of any materials

and OSRR personnel were present, which chilled communication between John Doe and his

attorney. Thus, John Doe was only permitted to see the evidence relied upon by Butler after she

had already determined that he was responsible for violating ECU’s policies. He was given no

opportunity to correct or respond to the information provided. Moreover, ECU officials knew that

he could not give his side of the story due to a pending criminal investigation. Even so, the evidence

relied upon by Butler was insufficient to prove by a preponderance of the evidence that John Doe

was responsible for violating any ECU codes, policies or procedures.

       120.    John Doe’s brief review of the heavily redacted copy of the investigative report,

revealed that Butler relied on hearsay statements, and false statements about John Doe’s character

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and reputation—including false allegations concerning his prior sexual history—to wrongfully

determine that John Doe was responsible for nonconsensual sexual contact with Jane Roe. Because

John Doe was unable to provide a statement due to the pending criminal charges against him Butler

simply accepted Jane Roe’s account as truth.

       121.    Per John Doe’s familiarity with the evidence in the criminal case, which Butler

appeared to rely upon, there were no corroborating witnesses as to what occurred between John

Doe and Jane Roe in the upstairs bathroom at her apartment. While Jane Roe described a forceful

and violent encounter, no one heard any noise or commotion, including a friend of Jane Roe’s who

reported knocking on the bathroom door and having a brief conversation with John Doe through

the bathroom door. Butler further ignored evidence that contradicted the accounts of Jane Roe’s

friends with respect to John Doe’s demeanor after the alleged incident with Jane Roe. Jane Roe’s

friends stated that he ran out of the party, while an acquaintance of John Doe’s confirmed that John

Doe was not in a rush, called an Uber and the two shared an uneventful car ride home together.

       122.    The criminal file, which Butler appeared to review, disclosed that Jane Roe had

been intimate with more than one man on the night she accused John Doe of sexual assault. Upon

information and belief, Butler, who had little experience as an investigator, failed to question Jane

Roe at all, instead relying on her statement to police and, if she did question Jane Roe, Butler failed

to ask probative questions about the alleged incident, question discrepancies in her account, or

question her about exculpatory evidence because Butler utilized a biased approach when

conducting the investigation.

       123.    Upon information and belief, Butler presumed that Jane Roe was a traumatized

victim who had to be telling the truth and John Doe, as a male, could only be a forceful male

aggressor as described. This led Butler to investigate the allegations of John Doe under a



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presumption that he was guilty as accused, rather than looking at the evidence fairly and impartially

as required under ECU’s Student Conduct Code and sexual misconduct policies.

       124.    John Doe had no right to appeal Butler’s finding, or request a reopening of the

investigation, before the finding was referred to OSRR.

       C. Wordlow Refers John Doe’s Case to the Student Conduct Board

       125.    Three months after Jane Roe’s university complaint was filed and after Butler

found that he violated ECU policies, on February 22, 2016, Wordlow emailed a letter to John Doe

notifying him of the allegations against him. However, the letter still failed to specify or define the

code violations for which he was found responsible. The letter further notified John Doe that OSRR

was referring the case to the ECU Student Conduct Board but provided no specific reason why it

was being referred, generally stating “due to the nature of the reported incident and/or your

disciplinary history OSRR is referring your case to the …Student Conduct Board.” John Doe had

no disciplinary history. The letter further stated “a hearing will be scheduled and announced to you

in future correspondence.”

       126.    Wordlow sent two letters to John Doe, on March 4 and 15, 2016, notifying him that

the case was still pending and a hearing would be scheduled. It was not until March 28, 2016—

over one month after John Doe received notification that Butler found him responsible for

unknown code violations—that John Doe was notified that the Student Conduct Board hearing

would take place on April 15, 2016. At this point, John Doe had still not been granted full access

to the unredacted investigation file or the final investigation report. At this point, he still did not

have notice of provisions of the ECU conduct code that he purportedly violated.

        127. By letter dated March 28, 2016, in response to Wordlow’s letter concerning the

Student Conduct Board hearing, John Doe’s attorney asked Wordlow to clarify what the “charges”



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were against John Doe and to point out that Wordlow’s description of the Student Conduct

Board—as including students—was violative of Section 5.4.3 of the Student Conduct Process

which required that students not be included on the panel in cases where sexual misconduct has

been alleged. The letter further informed Wordlow that John Doe’s participation in the process did

not constitute a waiver of his right to a hearing or an acceptance of any sanctions imposed.

       128.    On March 29, 2016, John Doe was assigned a student advisor who purportedly was

“trained on the conduct process and [could] assist with organizing” John Doe’s “description of the

incident, concluding remarks and generating questions for witnesses.” The student advisor

assigned to John Doe, a male ECU undergraduate, told John Doe not to tell him anything about

the case because he was, in effect, the University’s “mole” and was required to report back

everything discussed with John Doe to Tamika Wordlow. John Doe’s student advisor later went

on to publicly criticize ECU’s student conduct process in cases of sexual misconduct as unfair to

male respondents and violative of their due process rights.

       129.    On April 4, 2016, Wordlow responded to John Doe’s attorney, purportedly to

inform him of the “charges” against John Doe. The first was “Endangerment” which included

“engaging in non-consensual contact.” The letter further stated that endangerment “can include,

but is not limited to sexual misconduct as defined in the “University’s ‘Regulation on Responding

to Complaints of Sexual Harassment, Sexual Misconduct and/or Discrimination on the Basis of

Sex”—again, this Regulation was not in effect at the time of the alleged incident between John

Doe and Jane Roe. The second “charge” was a vague “violation of university policies” which

included “[v]iolations of campus or University policies, rules or regulations, or federal, state, or

local law.” The letter informed John Doe that he could access the investigative report and

“appendix documents” at an on-campus meeting on April 6, 2016. Wordlow could not provide



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John Doe with the names of the panel members that would participate at the hearing as they had

not yet been selected.

       130.    On April 9, 2016, Wordlow disclosed the names of the panel members to John Doe.

       131.    On April 14, 2016, Wordlow emailed a letter to John Doe confirming the April 15,

2016 hearing date. The letter informed him that his student advisor—who had turned out to be an

advocate for respondent rights—could not attend the hearing due to “personal matters.” John Doe

was shocked as he had spoken to his student advisor and he had confirmed that he would be at the

hearing. Upon information and belief, Wordlow decided to remove John Doe’s student advisor

from his role because he spoke up for respondent’s rights, including John Doe’s, and would not

comply with Wordlow’s demands that he report back to her about his conversations with John

Doe.

       132.    John Doe did not wish to waive his right to have his student advisor present at the

hearing and requested a short adjournment.

       133.    OSRR rescheduled the hearing for April 22, 2016, a date that did not work for Jane

Roe. The hearing was ultimately rescheduled to over a month later, on May 27, 2016.

       134.    Only 5 days before the hearing, John Doe was assigned a new student advisor, a

female ECU undergraduate student. After his prior student advisor had disclosed to John Doe that

student advisors are intended to act as ECU’s source of inside information about a respondent’s

case John Doe did not feel that the new student advisor was trustworthy. At the one meeting John

Doe and his attorney had with the new advisor, she attempted to usurp the role of John Doe’s

attorney, by stating that she would speak for John Doe at the hearing. This offer was flatly rejected

by John Doe and his attorney, though the advisor did attend the hearing.




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       D. The Biased Hearing Panel

       135.    Less than 3 days before the hearing, John Doe was provided with information about

the panel members that would oversee his Student Conduct Board hearing. The panel was stacked

with members who had criminal justice backgrounds and, upon information and belief,

preconceived biases against males accused of sexual misconduct. Criminal law is adversarial,

while Title IX investigations and adjudications are intended to be inquisitorial.

       136.    Panel member and Defendant Bonner spent much of her career researching and

writing about gender bias in the police investigation of domestic violence complaints. She is also

a member of End Violence Against Women International, a group which promotes “victim-

centered, multidisciplinary collaboration, which strengthens the response of the criminal justice

system.” Bonner has given presentations for the organization which advocate taking a tougher

stance on male perpetrators of violence against women.

       137.    In 2016, Bonner served as the Local Evaluator for the Domestic Violence Homicide

Prevention Demonstration Initiative for Pitt County, North Carolina. The Initiative was funded by

the U.S. Department of Justice’s Office for Violence Against Women. Bonner has also given

presentations for ECU’s Gender Studies program. Upon information and belief, Bonner’s

education and experience caused her to hold gender-biased assumptions about male students

accused of sexual misconduct at ECU. Bonner’s background in criminal justice further caused her,

upon information and belief, to treat males accused of sexual misconduct in a prosecutorial, and

adversarial, manner as opposed to the neutral role required by ECU’s policies and procedures.

       138.    Defendant Skipper, one of the staff panel members assigned to John Doe’s case,

held a Bachelor of Science degree from ECU in Criminal Justice. Upon information and belief, his

background, and ties to the University as an alumnus, caused Skipper to assess the allegations



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against John Doe in an adversarial manner which presumed John Doe’s guilt rather than his

innocence.

       139.    Defendant Wilson, described as a “Data Analyst” in the materials provided to John

Doe worked in ECU’s Office of Equity and Diversity, including conducting research on gender

equality. He went on to serve as the Clery Compliance Coordinator for the ECU Police

Department. Upon information and belief, Wilson approached John Doe’s case in a manner that

was biased against males and favorable to females, presuming that all female complainants tell the

truth and that all male respondents are guilty.

       140.    Hearing panel chair Defendant Flanagan is the Director of Athletic Training

Education at ECU. Complainant Jane Roe is a student athlete. Upon information and belief,

Flanagan’s work, and close camaraderie with ECU’s student athletes predisposed her to favor Jane

Roe over John Doe in the hearing process.

       141.    Nicholas Dube, who acted as Case Presenter at the hearing, also had a background

in Criminal Justice, receiving his degree from ECU in 2014. Dube’s role at the hearing was to

“read[] information that has been collected by the University.”

       142.    Upon information and belief, all persons involved on the panel that heard John

Doe’s case, participated in Title IX training conducted by ATIXA, AEquitas and others that

fostered use of the trauma informed approach, and a presumption that male respondents are sexual

predators, as discussed supra at Paragraphs 38-46.

       E. ECU Denies John Doe Adequate Time to Prepare for the Hearing

       143.    On May 24, 2016 Wordlow emailed a letter to John Doe informing him that he

would be permitted to review the investigative file a mere 2 days before the hearing, on May 25,

2016 at 10:30 a.m. John Doe and his attorney were once again presented with a heavily redacted



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copy of the file. John Doe’s attorney was prohibited from using a recorder to take notes about the

file and was prohibited from making copies to use for hearing preparation.

       144.    John Doe and his attorney had repeatedly requested access to an unredacted copy

of the file which was routinely denied by Wordlow and Messerli on the ground that the information

could be used by John Doe and/or his attorney to “retraumatize” or “victimize” individuals

involved in the case, that the information could be broadcast by John Doe on social media or that

he might attempt to harass or coerce witnesses into not testifying at the hearing. These excuses for

not giving John Doe full access to his file further demonstrate gender bias. Wordlow, and ECU

administrators were operating under the presumption that John Doe—a male accused of sexual

misconduct—was dangerous, menacing and harassing, while the female complainant and her

witness, also a female, were viewed as subject to victimization. This also indicated that Wordlow,

and others, operated under a presumption of guilt rather than conducting a fair and impartial

process.

       145.    On May 26, 2016—1 day before the hearing—Mandy Messerli emailed a letter to

John Doe informing him that Jane Roe would attend the hearing. The letter also stated that Jane

Roes’ roommate—M.K. would attend the hearing as Jane Roe’s witness.

       146.    ECU’s continuous, deliberate failure to provide John Doe access to an unredacted

copy of the investigative file is but one instance in which his right to a fair hearing was violated,

as he and his attorney could not adequately prepare for the hearing by reviewing a redacted copy

of the investigation file only two days before the hearing. ECU further violated the Student

Conduct Code by failing to provide reasonable access to the information prior to the hearing.




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       F. The “Hearing”

       147.    On May 27, 2016—6 months after the filing of Jane Roe’s university complaint—

a hearing was held to determine whether John Doe was responsible for violating ECU’s policies

and procedures. On the hearing panel were Bonner, Flanagan, Ragone, Skipper and Wilson.

       148.    Defendant Messerli replaced Wordlow as “hearing advisor.”

       149.    Defendant Bellflower, Associate University Attorney, also participated in the

hearing which is not provided for in the Student Conduct Code. Indeed, John Doe was informed

only that Bellflower would be available by phone for ECU administrators if questions arose during

the hearing. Bellflower had a clear conflict of interest as ECU’s attorney and should not have been

present at the hearing. Bellflower, who has an extensive history as an advocate for victims of

sexual assault, injected gender bias into the proceeding.

       150.    Upon information and belief, Bellflower’s mere presence at the hearing prejudiced

the hearing panel against John Doe and in favor of taking a hard line against male respondents due

to increasing pressure on ECU to take Title IX cases seriously. Bellflower’s presence at the hearing

also turned the hearing into an adversarial proceeding, rather than a neutral, or inquisitorial setting.

       151.    During the course of the hearing, Bellflower—rather than the hearing panel chair,

Defendant Flanagan—made determinations about the relevance of evidence submitted by John

Doe, including polygraph test results which determined that John Doe was truthful in his assertion

that the sexual activity that he engaged in with Jane Roe was consensual. Wordlow had approved

the presentation of this evidence, and copies of Jane Roe’s relevant social media posts, to the panel

prior to the hearing date.

       152.    Bellflower permitted the introduction of John Doe’s arrest photo and a newspaper

article about his arrest to be provided to the panel as “evidence” as well as speculative witness



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statements about John Doe’s prior sexual history—there was no allegation of a pattern of conduct

in his case nor would the prejudicial evidence have supported such an allegation. The evidence

should have been rejected by Bellflower and Flanagan, as the hearing chair. Their failure to

exclude such prejudicial evidence from the panel’s consideration strongly suggests that Bellflower

and Flanagan presumed John Doe was guilty and intended to influence the panel to find that to be

the case.

       153.     In contrast, Bellflower and, upon information and belief, Flanagan excluded

forensic evidence from consideration, including Jane Roe’s medical history as related to birth

control and the fact that no photos had been produced that corroborated the purported injuries

received on the night of the alleged incident. They also disallowed evidence concerning Jane Roe’s

birth control implant, which was in her left arm. John Doe knew where the implant was located

because he and Jane Roe had a conversation about it during their consensual sexual act. Also

excluded was evidence that Jane Roe had enrolled at another university, which undermined her

statement to the panel that she wanted to finish her degree at ECU in peace and that John Doe

should, therefore, be banned from campus.

       154.     In justifying these decisions, Bellflower repeatedly cited the Federal Rules of

Evidence which were not adopted by the Student Conduct Code. ECU’s student conduct

procedures are not subject to the Federal Rules of Evidence. UNC Policy Manual § 700.4.1.1.

       155.     During recesses at the hearing, Bellflower acted in a menacing manner towards

John Doe and his attorney, including by telling John Doe’s attorney that his statement to the panel,

calling into question the lack of physical evidence of sexual assault, was “uncalled for” and that

he “should not have gone there” since the statement had upset Jane Roe. On another recess

Bellflower acted in a harassing and intimidating manner toward John Doe. Attempting to justify



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his exclusion of Jane Roe’s social media posts from consideration by the panel—a decision that

was not his to make—Bellflower exclaimed that the panel was “not here to judge the complainant’s

political views” but determine if John Doe was “guilty of sexual assault.” Bellflower’s tone

insinuated that John Doe was “guilty” and his conduct confirmed John Doe’s feeling that he was

presumed guilty from the start of the hearing.

       156.    During the course of the hearing, chairperson Flanagan acted hostile towards John

Doe, even openly admonishing him for not paying attention. Yet John Doe spoke no words at the

hearing other than to state his name for the record due to the pending criminal investigation.

       157.    John Doe’s attorney presented two questions to the panel to be asked of Jane Roe,

which Flanagan flatly rejected. John Doe was not permitted to examine Jane Roe or her witness or

engage in any meaningful form of cross examination through the panel. This violated UNC’s

Policy Manual. §700.4.1 at § VI.A.11.

       158.    Flanagan permitted Jane Roe’s witness, M.K., to present handwritten notes of a

phone conversation that the witness purportedly had with John Doe in which she alleged that John

Doe admitted to sexually assaulting Jane Roe. The notes were written down at a later time, rather

than contemporaneous with the phone call. M.K. began reading her witness statement into

evidence as if it were her own, later realizing that she was reading someone else’s statement. M.K.

testified that John Doe admitted to raping Jane Roe, which contradicted her prior statement to

Kristan Tucker that he had only admitted to having sex with Jane Roe. John Doe had no

opportunity to question the witness, test the accuracy or credibility of the testimony as he was

precluded from questioning M.K.




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       159.    John Doe’s student advisor advocated for Jane Roe at the hearing. For instance,

when John Doe’s advisor sensed that Jane Roe was upset by something said at the hearing, she

called for a recess—even though John Doe’s attorney was in the middle of speaking to the panel.

       160.    The hearing panel asked no questions of inexperienced investigator Butler about

why she found John Doe responsible for ECU code violations, how she assessed the complainant’s

credibility, or what evidence she considered in her determination. The panel only confirmed that

her investigation was “complete.”

       161.    John Doe was not privy to the deliberations of the hearing panel. Upon information

and belief, the panel was strongly influenced by Bellflower and Flanagan to find John Doe

responsible for violating ECU’s policies and procedures. Moreover, upon information and belief,

due to their backgrounds and experience, panel members Bonner, Skipper and Wilson all held

biased views against males accused of sexual misconduct, viewing them as sexual aggressors who

should be prosecuted to the fullest extent of the law. The panel in John Doe’s case was inherently

biased against male students and, accordingly, it was impossible for John Doe to get a fair and

impartial hearing, even within the parameters set by ECU’s Student Conduct Code which, as

written, denied John Doe due process.

       G. The Unwarranted Sanction Against John Doe

       162.    On May 27, 2016, or the same day that the hearing was held, Messerli emailed a

letter to John Doe informing him that he was found responsible for “Violation of University

Policies” and “Endangerment” which included “engaging in non-consensual sexual contact.” The

letter still failed to specify the code violations, other than Endangerment, and simply appended

over forty pages of codes and regulations.




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        163.   The letter indicated that the hearing panel relied solely on the testimony of

complainant’s witness M.K. and the purported telephone call she had with John Doe in which he

“confessed” to having non-consensual sex with Jane Roe. The hearing panel further relied on

witness statements that were, upon information and belief, obtained from the criminal investigation

into Jane Roe’s allegations. The witnesses did not give testimony at the hearing and, therefore, the

panel did not assess the credibility of these witnesses. The panel further ignored exculpatory

evidence that contradicted these witness statements. The panel also took into consideration Jane

Roe’s request to finish her degree with “piece [sic] of mind” even though, at the time of the hearing,

Jane Roe had already decided to transfer to another university—the panel rejected evidence of Jane

Roe’s decision—as presented by John Doe’s attorney at the hearing—on the ground that it was

irrelevant.

        164.   Messerli’s letter stated that she was responsible for sanctioning John Doe, even

though the Student Conduct Code required the hearing panel to determine sanctions. Student

Conduct Code § 5.4.4.

        165.   As result of the biased and inadequate “hearing,” John Doe received a 3-year

suspension from ECU. His name was also entered into a UNC database so that he could not attend

any other university within the UNC system. The information regarding his suspension will also

be permanently stored in the UNC database, permanently marked on his transcript and the

disciplinary records will be kept indefinitely.

        166.   The sanction of suspension did not differ from expulsion in anything other than

name—in cases of suspension and expulsion a student’s records are permanently marked.




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       167.    John Doe was also banned from ECU’s campus and from conducting “official

business” with the University. He also had to pay “restitution” to Jane Roe upon her submission

of “relevant medical bills.”

       168.    After the suspension period ended, John Doe could only attend ECU—which he

had been attending online—by petitioning for re-enrollment and being accepted. This would

require, among other things, proof of counseling and authorization for Messerli to speak with the

counselor.

       H. Defendant Hardy is the Sole Arbiter of John Doe’s Appeal

       169.    After receiving the hearing outcome letter, John Doe had only five calendar days

(which included a weekend) to file his appeal. Though the “hearing” was recorded he did not have

access to the recording prior to filing his appeal. John Doe requested access to the recording but

Wordlow made no attempt to accommodate him prior to the deadline for submitting his appeal.

       170.    Per the Student Conduct Code, the grounds for appeal were: (1) a violation of due

process; or (2) a material deviation form Substantive and Procedural Standards. § 5.5.

       171.    John Doe appealed on both grounds available. The appeal set forth the following

violations and deviations:

       (i)     Failure to allow John Doe to comply with his responsibilities under the Student
               Conduct Code, §4.1.2.4.

       (ii)    Application of the Federal Rules of Evidence to the evidence presented by John
               Doe in order to exclude the same, in violation of UNC Policy Manual § 700.4.1.1.

       (iii)   Reviewing uncorroborated character evidence concerning John Doe’s sexual
               history, his arrest photo and a newspaper article concerning the criminal case which
               was irrelevant and prejudicial.

       (iv)    The reliance of the panel upon witness statements that were obtained by informal
               interviews by improperly trained investigators without appropriate due process
               protections, including the opportunity for cross-examination.


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       (v)      The blatant omission of rape kit and other forensic evidence from the file.

       (vi)     The panel’s refusal to ask complainant John Doe’s written questions.

       (vii)    Reliance on hearsay evidence including the written statements of witnesses who
                were not present at the hearing.

       (viii)   Utilization of M.K.’s handwritten notes of the purported phone conversation with
                John Doe without John Doe having the opportunity to question M.K. about the
                notes or the call.

       172.     On June 1 and 2, 2016, ECU sent John Doe 5 letters concerning his appeal and what

would happen post-submission, including an apology for sending him so much correspondence.

       173.     Defendant Hardy, Vice Chancellor for Student Affairs, was the sole person

responsible for deciding John Doe’s appeal. Hardy had a clear conflict of interest since she was an

ex officio member of The Chancellor’s Committee on the Status of Women, who took an active

role in ECU’s Title IX campaign, was ECU’s spokesperson for Title IX compliance, and believed

that OCR forced universities to take the sexual assault of women seriously, supra Paragraphs 50,

56-57, and 62, publicly citing statistics about college women and sexual assault. Hardy’s views on

sexual assault as a matter concerning women was biased, leading to the conclusion that men are

responsible for sexual assault. Upon information and belief, this bias caused Hardy to reject John

Doe’s appeal despite numerous, obvious defects in the process and a complete lack of evidence

that John Doe sexually assaulted Jane Roe.

       174.     By letter dated June 21, 2016, Hardy affirmed the outcome of the Student Conduct

Board proceeding and the sanction issued thereafter.

       175.     In reviewing John Doe’s appeal, Hardy discounted John Doe’s complaint that he

had no meaningful opportunity to cross-examine Jane Roe or the witnesses whose transcribed

statements were relied upon by distinguishing ECU’s proceeding from a criminal case. “While the

University’s procedure may not match formal criminal proceedings in state or federal court, a

                                                 50

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student disciplinary hearing is not such a proceeding.” This ignored the UNC Policy Manual’s

requirements that students accused of “serious violations” must be given “an opportunity to

question…evidence, either by direct questions or inquiries transmitted through the committee or

hearing official.” § 700.4.1. In addition, cases such as John Doe’s which involve criminal charges

are deemed “special cases” which at a minimum permit the student to have an attorney advisor. Id.

Hardy further ignored that 4 out of 6 questions given to the panel by John Doe’s attorney were

rejected as “not germane,” which is different than relevant—the standard required to be applied to

evidence presented at a Student Conduct Board hearing.

       176.    Hardy ignored Bellflower’s participation in John Doe’s case, as well as his reliance

on the Federal Rules of Evidence, as the mere “fram[ing] an explanation” to John Doe’s attorney

as to why the evidence was rejected. In contrast, Hardy found no prejudice in the inclusion of John

Doe’s arrest photo or the article about his arrest in the materials provided to the hearing panel, and

blamed John Doe’s attorney for failing to object to the inclusion of those materials in the notebook

prior to the day of the hearing. Hardy also found no prejudice resulting from the inclusion of

irrelevant hearsay evidence concerning John Doe’s sexual history yet she affirmed that evidence

of Jane Roe’s lifestyle and sexual history should not have been presented to the panel.

       177.    Hardy permitted no further appeal to the Board of Trustees, even though the UNC

Code permitted a second level of appeal, on the ground that it was discretionary. However, this

ignored that students who are suspended face the same life altering sanctions as those who are

expelled—ECU keeps their records indefinitely, permanently marks their transcripts and keeps

information related to the sanction in the UNC system database.

       178.    As a result of Defendants’ actions, John Doe suffered tremendous financial harm,

including the loss of tuition for the Fall 2015 semester, a significant delay in the completion of his



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graduate work, the loss of opportunities with the United State Marine Corps, the inability to

continue his graduate studies at any UNC institution and the inability to pursue a career of his

choice.

          179.   As a result of Defendants’ actions, John Doe also suffered tremendous emotional

harm, including panic attacks, night terrors and suicidal ideation. In order to manage his stress and

anxiety, he was prescribed medication. He continues to use medication as needed to manage his

extreme anxiety and panic attacks. Since he was falsely accused by Jane Roe, John Doe has

regularly attended therapy.

                                               COUNT I
                    Violation of Title IX of the Education Amendments of 1972-
                      Erroneous Outcome (Against East Carolina University)


          180.   John Doe repeats and re-alleges each and every allegation hereinabove as if fully

set forth herein.

          181.   Title IX of the Education Amendments of 1972 provides, in relevant part, that: “No

person in the United States shall, on the basis of sex, be excluded from participation in, be denied

the benefits of, or be subjected to discrimination under any education program or activity receiving

Federal financial assistance.”

          182.   Title IX of the Education Amendments of 1972 applies to all public and private

educational institutions that receive federal funding, which includes Defendant ECU. ECU is a

public university located in Greenville, North Carolina. It has been designated a sea grant

university by the Association of Public and Land Grant Universities. ECU is a constituent

university of the University of North Carolina. It is authorized, supervised and funded by the State

of North Carolina pursuant to the North Carolina Constitution and Section 116-4 of the North




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Carolina General Statutes. Between the years 2013 and 2016, ECU received over $20 million per

year in grants, contracts and other funding from the U.S. Government.

        183.     Title IX may be violated by a school’s failure to prevent or remedy sexual

harassment or sexual assault or by the imposition of university discipline where gender is a

motivating factor in the decision to discipline.

        184.     An “erroneous outcome” occurred in this case. John Doe was innocent and wrongly

found to have committed a violation of ECU’s policies, and gender bias was a motivating factor.

        185.     Both the Department of Education and the Department of Justice have promulgated

regulations under Title IX that require a school to “adopt and publish grievance procedures

providing for the prompt and equitable resolution of student... complaints alleging any action

which would be prohibited by” Title IX or regulations thereunder. 34 C.F.R. § 106.8(b) (Dep’t of

Education); 28 C.F.R. § 54.135(b) (Dep’t of Justice) (emphasis added). Such prohibited actions

include all forms of sexual harassment, including sexual intercourse, sexual assault, and rape.8

        186.     The “prompt and equitable” procedures that a school must implement include, at a

minimum:

        ●       “Notice . . . of the procedure, including where complaints may be
        filed”;


        ●      “Application of the procedure to complaints alleging [sexual]
        harassment...”;


        ●      “Adequate, reliable, and impartial investigation of complaints,
        including the opportunity to present witnesses and other evidence”;


        ●       “Designated and reasonably prompt timeframes for the major stages
        of the complaint process”; and

8
 See generally U.S. Dep’t of Education, Office for Civil Rights, Revised Sexual Harassment Guidance: Harassment
of Students by School Employees, Other Students, or Third Parties -- Title IX (2001) at 19-20, 21 & nn. 98-101.


                                                      53

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            ●        “Notice to the parties of the outcome of the complaint......”9

            187.     Based on the foregoing, Defendants failed to conduct an adequate, reliable, and

impartial investigation of Jane Roe’s complaint and failed to conduct the investigation and

adjudication of Jane Roe’s complaint within a reasonably prompt timeframe.

            188.     Particular circumstances suggest that gender bias was a motivating factor behind

the erroneous findings and the decision to impose an unjustly severe penalty upon John Doe. These

circumstances include, without limitation:

            (i)      In the months leading up to Jane Roe’s complaint, and in the face of public outcry

                     from its students, ECU ramped up measures to acknowledge and address sexual

                     violence against women on campus. Upon information and belief, since January 1,

                     2015, no females have been accused of sexual misconduct at ECU. Upon

                     information and belief, all males accused of sexual assault since January 1, 2015

                     have been severely sanctioned;

            (ii)     The ECU administrators involved in the investigation and adjudication of the

                     complaint against John Doe received trauma informed training which perpetuated

                     the idea that female victims of sexual assault should never be questioned, that

                     trauma explains away any credibility issues in their stories, and that they tell the

                     truth. This training further focused on males as sexual aggressors, in all instances

                     responsible for obtaining consent. Several of the trainings offered by ECU were run

                     by a women’s advocacy group focused on violence against women with a focus on

                     cracking down on male perpetrators;




9
    Id. at 20.


                                                      54

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(iii)   Upon information and belief, ECU’s investigator in John Doe’s case, Defendant

        Butler, failed to ask probing questions of Jane Roe about inconsistencies in her

        story for fear of traumatizing her and presumed John Doe was guilty even though

        there was no credible, corroborating evidence for Jane Roe’s account of what

        happened;

(iv)    ECU, through Wordlow and Roeder, banned John Doe from campus as an interim

        remedy on the grounds that he was dangerous, even though John Doe was an online

        graduate student who did not frequent campus and had no disciplinary record or

        history of violence, including during the 4 years prior as an ECU undergraduate;

(v)     ECU Student Conduct Board member Bonner, who was on the hearing panel that

        decided John Doe’s case, spent much of her career researching and writing about

        gender bias (against women) in the police investigation of domestic violence

        complaints. She is also a member of End Violence Against Women International,

        a group which promotes “victim-centered, multidisciplinary collaboration, which

        strengthens the response of the criminal justice system.” Bonner has given

        presentations for the organization which advocate taking a tougher stance on male

        perpetrators of violence against women;

(vi)    ECU Student Conduct Board member Wilson, who was also on the hearing panel

        that decided John Doe’s case, worked in ECU’s Office of Equity and Diversity, and

        conducted research on equality for women. He went on to serve as the Clery

        Compliance Coordinator for the ECU Police Department;




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         (vii)     ECU’s attorney Bellflower, a known victim’s rights advocate, influenced the

                   hearing panel by presiding over the hearing, and acted in a manner that was hostile,

                   threatening and intimidating to John Doe;

         (viii)    ECU faculty member Walsh, the hearing panel chair for John Doe’s case,

                   admonished John Doe and treated him in a hostile manner at the hearing, even

                   though he could not speak at the hearing due to pending criminal charges; and

         (ix)      ECU’s Vice Chancellor of Student Affairs Hardy, solely responsible for deciding

                   John Doe’s appeal, made public statements in the months preceding John Doe’s

                   case about ECU’s need to remedy sexual violence against women and referenced

                   the pressure placed on ECU by OCR. Hardy is an ex officio member of the

                   Chancellor’s Standing Committee on Women, which embarked on an advocacy

                   campaign in 2015 to reduce sexual assault against women on campus including by

                   planning and hosting events such as a screening of The Hunting Ground for Pledge

                   Purple Week. Hardy’s role as campus spokesperson for Title IX enforcement on

                   behalf of women placed her in a position that directly conflicted with her role in

                   deciding appeals in ECU’s Title IX proceedings—the only level of appeal permitted

                   in cases of suspension.

         189.      Further, Defendant ECU was encouraged by federal officials during the Obama

Administration to institute disciplinary procedures in sexual misconduct cases that abrogate the

civil rights of men and treat men differently than women. As publicly acknowledged by Defendant

Hardy:

                The 2011 “Dear Colleague Letter” and the “Not Alone” report from the White House
                in 2014, shifted Title IX “significantly to focus on sexual assault, sexual violence and
                sexual misconduct. These guiding principles forced…colleges and universities to
                evaluate existing reporting processes associated with Title IX.” (emphasis added).

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Upon information and belief, Defendant ECU has not modified its disciplinary procedures under

the present Trump Administration even though, on September 22, 2017, the OCR withdrew the

April 2011 Dear Colleague Letter and “Questions and Answers on Title IX and Sexual Violence,”

dated April 29, 2014 on the ground that the April 2011 Dear Colleague Letter placed “improper

pressure upon universities” which resulted in the establishment of procedures for resolving sexual

misconduct allegations which “‘lack the most basic elements of fairness and due process, [and] are

overwhelmingly stacked against the accused.” See https://www2.ed.gov/about/offices/list/ocr/lett

ers/colleague-title-ix-201709.pdf.

       190.    Upon information and belief, Defendant ECU possesses communications and

documents evidencing Defendants’ predisposition to favor female students alleging sexual

misconduct over male students who are accused of sexual misconduct.

       191.    Upon information and belief, Defendant ECU has demonstrated a pattern of

inherent and systematic gender bias and discrimination against male students accused of

misconduct.

       192.    Upon information and belief, Defendant ECU’s mishandling of Jane Roe’s

complaint was informed by internal institutional pressure as well as external pressure from the

United States Department of Education, under a threat of rescission of federal funds:

       (i)     During the time that Jane Roe’s allegations against John Doe were being

               investigated, ECU entered into a resolution agreement with OCR concerning their

               mishandling of Title IX cases and lack of adequate staff, policies and procedures

               for handling Title IX complaints. The investigation commenced in October 2014

               and was resolved in February 2016, with continuous monitoring of ECU by OCR.




                                               57

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        (ii)    Beginning in early 2015, ECU and its administrators faced widespread, public

                criticism for not doing enough for female students who were victims of sexual

                assault on campus, including scathing articles in the campus newspaper. Per Hardy,

                “Sexual assaults are high profile concerns on college campuses around the state and

                nation…the university is not sitting quietly.”

        193.    Based on the foregoing, John Doe was subjected to a biased, prejudiced and unfair

process in violation of Title IX designed to find him, the male, responsible for sexual assault and

punished severely for it.

        194.    As a direct and proximate result of the above conduct, John Doe sustained

tremendous damages, including, without limitation, emotional distress, psychological damages,

loss of educational and career opportunities, reputational damages, economic injuries and other

direct and consequential damages.

        195.    As a result of ECU’s violation of Title IX, which resulted in an unduly severe and

unwarranted sanction which continues to injure John Doe’s reputation and right to continue his

education, an injunction should issue directing ECU to (i) reverse the outcome and findings

regarding Jane Roe’s complaint; (ii) expunge Plaintiff’s disciplinary record; (iii) remove any

record of Plaintiff’s suspension from his education file and the UNC database; and (iv)

permanently destroy any record of Jane Roe’s complaint.

        196.    As a result of the foregoing, John Doe is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements.

                                              COUNT II
                    42 U.S.C. §1983: Denial of Fourteenth Amendment Due Process
                                       (Against All Defendants)

        197.    John Doe repeats and re-alleges each and every allegation hereinabove as if fully

set forth herein.

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       198.    The Fourteenth Amendment to the United States Constitution provides that no state

shall “deprive any person of life, liberty, or property, without due process of law.” A similar right

is stated in the Fifth Amendment to the United States Constitution.

       199.    Section 1983 of Title 42 of the U.S. Code provides in pertinent part:

       Every person who, under color of any statute, ordinance, regulation, custom, or
       usage, of any State or Territory or the District of Columbia, subjects, or causes to
       be subjected, any citizen of the United States or other person within the jurisdiction
       thereof to the deprivation of any rights, privileges, or immunities secured by the
       Constitution and laws, shall be liable to the party injured in an action at law, suit in
       equity, or other proper proceeding for redress. . . .

       200.    A person has a protected liberty interest in his good name, reputation, honor,

and integrity, of which he cannot be deprived without due process.

       201.    A person has a protected property interest in pursuing his education, as well as

in future educational and employment opportunities and occupational liberty, of which he cannot

be deprived without due process.

       202.    John Doe’s constitutionally protected property interest in his continued enrollment

at Defendant ECU and to be free from arbitrary suspension and dismissal arises from the policies,

courses of conduct, practices and understandings established by Defendant ECU.

       203.    John Doe’s constitutionally protected property interest further arises from the

express and implied contractual relationship between Defendant ECU and John Doe.

       204.    It is well established that Fourteenth Amendment due process protections are

required in higher education disciplinary proceedings.

       205.    A person who has been admitted to a state university, and who has paid tuition to

that university has a protected property interest in continuing his education at that university until

he has completed his course of study.



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       206.    ECU is a public university located in Greenville, North Carolina. It has been

designated a sea grant university by the Association of Public and Land Grant Universities. ECU

is a constituent university of the University of North Carolina. It is authorized, supervised and

funded by the State of North Carolina pursuant to the North Carolina Constitution and Section

116-4 of the North Carolina General Statutes. ECU has a duty to provide its students equal

protection and due process of law by and through any and all procedures set forth by the University.

       207.    Plaintiff had obeyed all institutional rules when he was wrongly suspended from

ECU.

       208.    Plaintiff was entitled to a process commensurate with the seriousness of the

allegations and the potential discipline, sanctions, and repercussions he was facing. The allegations

in this case resulted in a sanction that will have lifelong ramifications for Plaintiff. Plaintiff was

deprived of a fundamentally fair process.

       209.    Plaintiff’s right to due process was violated when:

       (i)     Defendant Wordlow issued an administrative suspension and registration

               cancellation on the false ground that he was a danger to the ECU campus

               community even though John Doe had no disciplinary record, did not attend classes

               on campus and had substantially completed his finals for the Fall 2015 semester.

               The suspension was grounded in Wordlow’s presumption that John Doe was guilty

               and John Doe was not provided with the specific details of the ECU “charges”

               against him or Jane Roe’s specific allegations at the time that he was barred from

               attending classes;

       (ii)    Defendant Roeder, vocal on campus as an advocate for victims’ rights, violated

               John Doe’s constitutional right to continue his education by denying his appeal of



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        the administrative suspension and registration cancellation even though there was

        no evidence that he was a danger and the allegations against him had not yet been

        adjudicated.

(iii)   From the time that John Doe was notified that ECU was conducting an

        investigation, until the time that he received the outcome letter six months later,

        ECU failed to notify John Doe of the specific ECU policies and procedures at issue;

(iv)    At all times relevant to John Doe’s claims, Wordlow and Messerli denied John Doe

        access to an unredacted copy of the Title IX investigative file, precluding him from

        adequately preparing for his appearance before the Student Conduct Board;

(v)     Defendant Butler, who lacked the requisite background and experience was

        assigned as the Title IX investigator in John Doe’s case. Butler investigated the

        allegations against John Doe under a presumption of guilt and found John Doe

        “responsible” for violating ECU’s policies without notifying him of the specific

        policies that were violated;

(vi)    Defendant Bellflower, ECU’s attorney, denied John Doe a fair hearing by

        participating in the Student Conduct Board process, engaging in harassing and

        intimidating behavior towards John Doe during recesses, and influencing the

        hearing panel members through instructions during the hearing and usurping the

        role of the hearing panel chair;

(vii)   Defendants Wordlow, Bellflower and Flanagan denied John Doe a fair hearing

        because they included in the evidence file highly prejudicial information, including

        John Doe’s arrest photo and related newspaper article and hearsay evidence

        concerning his sexual history. In contrast, they denied John Doe’s proffer of



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         evidence concerning Jane Roe’s birth control implant (discussed during the sexual

         encounter), lack of claimed injuries, lifestyle and acceptance to another university;

(viii)   Defendant Wordlow violated John Doe’s right to a fair hearing by intentionally

         stacking the hearing panel with faculty and staff who had criminal justice

         backgrounds and experience as advocates for female victims of sexual violence and

         gender inequality. Upon information and belief, said panel members operated under

         a presumption of guilt;

(ix)     Defendants Bonner, Flanagan, Ragone, Skipper and Wilson, all hearing panel

         members in John Doe’s case, violated John Doe’s right to due process by denying

         him the opportunity to ask questions of Jane Roe and her witness on the ground that

         they were “not germane” and relying on transcribed witness statements which could

         not be tested through cross examination;

(x)      Defendants Bonner, Flanagan, Ragone, Skipper and Wilson, all hearing panel

         members in John Doe’s case, violated John Doe’s right to due process by failing to

         apply the preponderance of the evidence standard to the evidence before them,

         instead presuming John Doe was guilty, looking for evidence to back up that

         presumption and ultimately relying on a witness’ account of a conversation with

         John Doe that could not be proven, and whose testimony contradicted her earlier

         statements to Defendant Tucker;

(xi)     Defendant Hardy, aware of the recently resolved OCR investigation at ECU,

         concerned with ensuring ECU’s compliance with Title IX and tasked with

         responding to the outcry of female students that their sexual assault complaints

         were not taken seriously, denied John Doe due process by, upon information and



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               belief, deliberately overlooking the procedural defects and policy violations

               outlined in his appeal and by denying him the right to appeal to the Board of

               Governors of UNC even though John Doe’s suspension carried the same

               punishment as if he had been expelled.

Upon information and belief, these Defendants knew or reasonably should have known that their

actions would violate John Doe’s constitutional rights. The above described actions, which clearly

disregarded Plaintiff’s constitutional rights, cannot reasonably be characterized as actions taken in

good faith.

       210.    Upon information and belief, the Defendants were pressured by the OCR

investigation and the 2011 Dear Colleague Letter which, per Defendant Hardy “forced”

universities to take sexual assault allegations more seriously. This pressure forced Defendants to

act in derogation of male respondents’ due process rights, including Plaintiff’s, by engaging in a

disciplinary process tainted by gender bias. As a result, the Defendants failed to apply even those

standards mandated by the 2011 Dear Colleague Letter.

       211.    Demonstrating its conformity to the pressure imposed by the OCR investigation

and the 2011 Dear Colleague Letter, ECU’s 2017 Clery Report, an annual disclosure of campus

crime statistics, revealed that the number of sex offenses (“Rape,” “Fondling”) investigated

annually at ECU, between 2014 and 2016, more than doubled during the time in which ECU was

under OCR investigation. For example, there were 7 reported rapes on campus in 2014; 17 reported

rapes on campus in 2015; and 16 reported rapes on campus in 2016. The OCR investigation at

ECU was commenced in October 2014 and ECU entered into a resolution agreement with OCR in

February 2016 with continued monitoring.




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        212.    Defendants deprived Plaintiff of his liberty and property interests without affording

him basic due process, including but not limited to, his right to be notified of the charges against

him, his right to a fair adjudication, his right to be heard by an impartial factfinder, to question his

accuser, to challenge the credibility of other adverse witnesses and present evidence and witnesses

in support of his defense.

        213.    Defendants failed to provide Plaintiff with the basic due process protections that

they were required to provide students accused of sexual misconduct at a state university.

        214.    Defendants, as well as other agents, representatives and employees of ECU were

acting under color of state law when they showed intentional, outrageous and reckless disregard

for Plaintiff’s constitutional rights.

        215.    As a result of these due process violations, Plaintiff continues to suffer ongoing

harm, including damages to his reputation and other non-economic and economic damages.

        216.    Accordingly, Defendants Hardy, Wordlow, Butler, Roeder, Bonner, Flanagan,

Ragone, Skipper, Wilson, Messerli and Bellflower, in their individual capacities, are liable to

Plaintiff in violation of § 1983 for violations of the Due Process Clause of the Fourteenth

Amendments, and for all damages arising therefrom.

        217.    As a result of ECU’s, and Chancellor Staton’s, agreement to and ratification of

Defendants’ violation of Plaintiff’s due process rights, which resulted in an unduly severe and

unwarranted sanction which continues to injure John Doe’s reputation and right to continue his

education, an injunction should issue directing ECU and Chancellor Staton to (i) reverse the

outcome and findings regarding Jane Roe’s complaint; (ii) expunge Plaintiff’s disciplinary record;

(iii) remove any record of Plaintiff’s suspension from his education file and the UNC database;

and (iv) permanently destroy any record of Jane Roe’s complaint.



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                                            COUNT III
                                         Breach of Contract
                                           (Against ECU)

        218.     John Doe repeats and re-alleges each and every allegation hereinabove as if fully

set forth herein.

        219.     At all times relevant hereto, a contractual relationship existed between ECU and

John Doe through ECU’s policies and procedures governing the student disciplinary system,

including but not limited to the Student Conduct Code and the UNC Policy Manual, which is

incorporated by reference in the Code.

        220.     Through the documents it publishes and provides to students, Defendant ECU

makes express contractual commitments to students involved in a disciplinary process.

        221.     Based on the foregoing, ECU created express and implied contracts with John Doe.

        222.     The contracts contained an implied covenant of good faith and fair dealing. They

implicitly guaranteed that any proceedings would be conducted with basic fairness.

        223.     Based on the aforementioned facts and circumstances, Defendant ECU breached

express and/or implied agreement(s) with John Doe.

        224.     Defendant ECU committed several breaches of its agreements with John Doe

during the investigation and hearing process, including, without limitation:

        a)       Violations of the UNC Policy Manual § 700.4.1 as follows:

                 (i)     Subjecting Plaintiff to an arbitrary and capricious outcome not supported by
                         the evidence. § III.

                 (ii)    Failing to provide written notice that “specifies the offense(s) charged” and
                         contains a “brief recitation of the facts supporting the charge.” § VI.A.2.

                 (iii)   Due to heavy redactions in his file, failing to provide Plaintiff the
                         opportunity to review the written evidence used at the hearing. § VI.A.6.




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         (iv)    Denying Plaintiff the opportunity to present evidence and defenses at the
                 hearing. § VI.A.8.

         (v)     Denying Plaintiff the opportunity to question the evidence. § VI.A.11.

         (vi)    Permitting Jane Roe to have an advocate and support person at the hearing,
                 while allowing John Doe only his attorney. § VII.C.

b)       Violations of the Student Conduct Code as follows:

         (i)     Implementing an administrative suspension absent any substantial threat of
                 harm. § 3.1.2.

         (ii)    Failing to provide Plaintiff with resources appropriate for respondents, but
                 only geared toward complainants. § 3.1.1.

         (iii)   Failing to provide Plaintiff with any explanation or assistance concerning
                 reporting a crime to campus or local law enforcement in the event that he
                 wished to file a complaint against Jane Roe. § 3.1.1.

         (iv)    Failing to consider evidence that Jane Roe intended to transfer to another
                 university when determining Plaintiff’s sanctions. § 3.2.

         (v)     Failing to objectively and impartially evaluate Jane Roe’s complaint. § 4.1.

         (vi)    Failing to give Plaintiff reasonable access to all information gathered during
                 the course of the investigation. § 4.1.

         (vii)   Failing to apply the preponderance of the evidence standard. § 5.1.3.

         (viii) Failing to provide Plaintiff with the requisite written notice of the
                allegations against him. § 5.2.5.

         (ix)    Failing to timely refer the case to the Student Conduct Board. § 5.2.5.2,
                 5.4.1.

         (x)     Failing to specify, in writing, the “charges” against Plaintiff. § 5.4.1.

         (xi)    Allowing Defendant Messerli, rather than the hearing panel, determine
                 sanctions. § 5.4.4.4.

         (xii)   Speaking to the press about John Doe’s education records without his
                 written consent. § 6.




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                   (xiii) Failing to follow the Student Conduct Code by permitting Defendant
                          Bellflower to participate in the hearing.


       (c)         Violations of the Interim Sexual Misconduct Regulation as follows:
                   (i)       Failing to provide a prompt, fair and impartial process. § 6.6.1.
                   (ii)     Failing to provide notice to Plaintiff that the investigation and adjudication
                            process would take more than 60 days. § 6.6.1.

                   (iii)    Taking six months to complete the investigation and adjudication of Jane
                            Roe’s complaint. § 6.6.1.

                   (iv)     Failing to provide information to both parties with respect to filing criminal
                            charges. § 6.4.1.

       225.        Based on the aforementioned facts and circumstances, Defendant ECU breached

and violated the covenant of good faith and fair dealing implied in the agreement(s) with John

Doe.

       226.        As a direct and foreseeable consequence of the foregoing breaches, John Doe

sustained damages, including, without limitation, loss of educational and career opportunities,

economic injuries and other direct and consequential damages.

       227.        As a result of the foregoing, John Doe is entitled to damages in an amount to be

determined at trial.

                                                 PRAYER FOR RELIEF

       WHEREFORE, for the foregoing reasons, Plaintiff demands judgment against

Defendants as follows:

             (i)          on the first count for violation of Title IX of the Education Amendments of
                          1972, a judgment against ECU awarding John Doe damages in an amount to be
                          determined at trial, including, without limitation, damages to physical well-
                          being, emotional and psychological damages, damages to reputation, past and
                          future economic losses, loss of educational opportunities, and loss of future
                          career prospects, plus prejudgment interest, attorneys’ fees, expenses, costs and
                          disbursements and an injunction against ECU As a result of ECU’s violation of
                          Title IX, which resulted in an unduly severe and unwarranted sanction which


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         continues to injure John Doe’s reputation and right to continue his education,
         an injunction should issue directing ECU to (i) reverse the outcome and findings
         regarding Jane Roe’s complaint; (ii) expunge Plaintiff’s disciplinary record;
         (iii) remove any record of Plaintiff’s suspension from his education file and the
         UNC database; and (iv) permanently destroy any record of Jane Roe’s
         complaint;

 (ii)    on the second count for violation of constitutional due process under 42 U.S.C.
         § 1983, a judgment against individual Defendants Hardy, Wordlow, Butler,
         Roeder, Bonner, Flanagan, Ragone, Skipper, Wilson, Messerli and Bellflower
         awarding John Doe damages in an amount to be determined at trial, including,
         without limitation, damages to physical well-being, emotional and
         psychological damages, damages to reputation, past and future economic
         losses, loss of educational opportunities, and loss of future career prospects,
         plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements
         and as against Defendants ECU and Staton an injunction directing ECU and
         Staton to (i) reverse the outcome and findings regarding Jane Roe’s complaint;
         (ii) expunge Plaintiff’s disciplinary record; (iii) remove any record of Plaintiff’s
         suspension from his education file and the UNC database; and (iv) permanently
         destroy any record of Jane Roe’s complaint;


 (iii)   on the third count for state law breach of contract, a judgment against ECU
         awarding John Doe damages in an amount to be determined at trial, including,
         without limitation, damages to physical well-being, emotional and
         psychological damages, damages to reputation, past and future economic
         losses, loss of educational opportunities, and loss of future career prospects,
         plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements;

 (iv)    an injunction directing ECU to (i) reverse the outcome and findings regarding
         Jane Roe’s complaint; (ii) expunge Plaintiff’s disciplinary record; (iii) remove
         any record of Plaintiff’s suspension from his education file and the UNC
         database; and (iv) permanently destroy any record of Jane Roe’s complaint; and

 (v)     awarding Plaintiff such other and further relief as the Court deems just,
         equitable and proper.




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                                       JURY DEMAND
      Plaintiff herein demands a trial by jury of all triable issues in the present matter.

Dated: August 7, 2018

                                     Respectfully Submitted,

                                     NES~TO~ & MILTEN~ERG,LLP

                                     By•                1
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                                        g


                                     Attorneysfog PlaintiffJohn Doe

                                             -and-

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